     Case 2:22-cv-06871-JWH-JDE Document 1 Filed 09/22/22 Page 1 of 54 Page ID #:1




1 Joel E. Elkins (SBN 256020)
  jelkins@weisslawllp.com
2 WEISS LAW
  611 Wilshire Blvd., Suite 808
3 Los Angeles, CA 90017
  Telephone: (310) 208-2800
4 Facsimile: (310) 209-2348

5    Attorneys for Plaintiff
6
                                UNITED STATES DISTRICT COURT
7

8                              CENTRAL DISTRICT OF CALIFORNIA

9                                        WESTERN DIVISION
10   SAMUEL I. KOENIG, Derivatively on Behalf of )
     ENOCHIAN BIOSCIENCES INC.                   )
11                                               )
                      Plaintiff,                 ) Case No.
12        v.                                     )
                                                 ) VERIFIED STOCKHOLDER
13   SERHAT GUMRUKCU, RENE SINDLEV,              ) DERIVATIVE COMPLAINT
     MARK DYBUL, CAROL BROSGART,                 )
14   GREGG ALTON, JAMES SAPIRSTEIN, CARL ) JURY TRIAL DEMANDED
     SANDLER, HENRIK GRONFELDT-                  )
15   SORENSON, and JAYNE MCNICOL,                )
                                                 )
16                    Defendants,                )
                                                 )
17        and                                    )
                                                 )
18   ENOCHIAN BIOSCIENCES INC.,                  )
                                                 )
19                    Nominal Defendant.         )
20          Plaintiff Samuel I. Koenig (“Plaintiff”), by his undersigned attorneys, respectfully submits
21   this Verified Stockholder Derivative Complaint for the benefit, and on behalf of, nominal
22   defendant Enochian Biosciences Inc. (“Enochian” or the “Company”) against the Defendants for
23   breaches of fiduciary duty and violations of the federal securities laws. Plaintiff makes these
24   allegations upon personal knowledge with respect to himself and, as to all other matters, upon
25   information and belief developed from the investigation and analysis by Plaintiff’s counsel,
26   including a review of publicly available information, filings by Enochian with the U.S. Securities
27

28
                                                    1
     Case 2:22-cv-06871-JWH-JDE Document 1 Filed 09/22/22 Page 2 of 54 Page ID #:2




 1   and Exchange Commission (“SEC”), press releases, news reports, analyst reports, investor

 2   conference transcripts, and other public information regarding Enochian. Plaintiff believes that

 3   substantial additional evidentiary support will exist for the allegations after a reasonable

 4   opportunity for discovery.

 5   I.     NATURE OF THE ACTION

 6          1.     This is action is brought derivatively on behalf of Enochian to recover its substantial

 7   damages caused by the misconduct pled herein and to remediate its internal control weaknesses

 8   and deficient corporate governance practices and procedures.
 9          2.     Enochian was formed in 2018 as part of a business partnership forged between
10   Defendants Rene Sindlev (“Sindlev”) and Serhat Gumrukcu (“Gumrukcu”). It was represented
11   that Enochian was engaged in developing technology for the treatment of HIV/AIDS, hepatitis B
12   virus, influenza, coronavirus, and cancer based upon the scientific research of Gumrukcu. In
13   exchange for a perpetual license for technologies from entities controlled by him, Gumrukcu
14   obtained 50% ownership in Enochian.
15          3.     In public statements and filings with the SEC, Enochian extolled Gumrukcu as the
16   “genius” “inventor” 1 of the technology and science fueling the Company’s product pipeline. All
17   told, Gumrukcu has been paid over $20 million by Enochian in connection with licensing and other

18   contractual agreements between him, entities controlled by him, and the Company.

19          4.     The lie was given to the Board’s and Company’s representations about Gumrukcu

20   and his scientific “genius” when, on June 1, 2022, Hindenburg Research published a report based

21   upon extensive research and interviews of multiple former employees and industry experts (the

22   “Hindenburg Report”) exposing Gumrukcu as a con-artist with a long rap-sheet, possessing none

23   of his claimed credentials. The Hindenburg Report revealed that Gumrukcu was not and was never

24   a licensed medical (or any other kind of) doctor in any jurisdiction. To the contrary, he had

25

26   1
          See, e.g., Enochian’s Current Report on Form 8-K filed with the SEC on November 25,
   2019, the attached press release, and Enochian’s Annual Report on Form 10-K filed with the SEC
27 on September 24, 2021 for the fiscal year ended June 30, 2021.

28
                                                     2
     Case 2:22-cv-06871-JWH-JDE Document 1 Filed 09/22/22 Page 3 of 54 Page ID #:3




1    purchased a fake Russian medical degree on the black market and “was arrested based on

2    accusations of falsely posing as a doctor” in Turkey in 2012. Gumrukcu had not only falsified his

3    credentials, but also had a record of fraudulent financial transactions. Indeed, in February 2017,

4    he was arrested after the State of California accused him of a slew of crimes, including fraud,

5    identity theft, and check kiting—a total of 14 felonies.

6           5.        Recently, however, it has come to light that Gumrukcu’s criminality extends well

7    beyond fraud to include conspiracy to commit murder, when he was arrested for a conspiracy to

8    murder a former partner in an oil deal who accused Gumrukcu of fraud. The former partner’s fraud
9    case was coming to trial at the same time that the deal by which Enochian was formed was
10   undergoing due diligence. Prosecutors allege that, in order to keep his fraudulent conduct hidden
11   so that it did not prevent consummation of the lucrative deal, Gumrukcu conspired to have the
12   former partner killed.
13          6.        Incredibly, according to the Hindenburg Report, Enochian Board members knew—
14   but concealed—Gumrukcu’s criminal history from investors. In a phone interview, Defendant
15   Sindlev admitted to knowing that Gumrukcu had been charged with 14 felony counts, but
16   nevertheless moved forward with the deal to form Enochian and subsequently bring it public and
17   even expanded further on the relationship between Enochian and Gumrukcu thereafter, awarding
18   additional lucrative cash consulting and licensing contracts to Gumrukcu and entities controlled

19   by him and his spouse. Though Gumrukcu’s criminal past was known, no disclosure was made.

20   Instead, a steady stream of positive comments regarding Gumrukcu and his purported work was

21   fed to stockholders.

22          7.        The facts contained in the Hindenburg Report sent Enochian shares spiraling

23   downward by nearly 50%. Following the precipitous stock drop, securities class action lawsuits

24   were swiftly filed against Enochian, its directors, and officers, among others, alleging violations

25   of the anti-fraud provisions of the federal securities laws. As such, the Company is now subject to

26   substantial liability and will be forced to expend substantial sums to defend itself and its officers

27   and directors.

28
                                                      3
     Case 2:22-cv-06871-JWH-JDE Document 1 Filed 09/22/22 Page 4 of 54 Page ID #:4




1           8.       The material damage caused to Enochian and its shareholders was the result of the

2    Enochian board’s approval of, or acquiescence in, the retention of Gumrukcu and payment of more

3    than $20 million to him and entities controlled by him. The current and former members of

4    Enochian’s Board ignored numerous red flags warning them that Gumrukcu was a fraud and that

5    statements made about him and his purported scientific efforts were false and misleading and

6    omitted material information.

7           9.       Internally, the Company’s then-CEO, Eric Leire, MD (“Leire”), found that little

8    could be verified about Gumrukcu’s work regarding the drugs licensed by Enochian and Leire
9    began to suspect that Gumrukcu had fabricated his resumé and held neither a medical degree nor
10   a doctoral degree. Leire, a medical doctor and pharmaceutical-industry executive, said he was fired
11   from his CEO job in 2019 after raising his concerns with the Enochian Board.
12          10.      Further red flags were raised when, on November 19, 2019, Seeking Alpha
13   published a research report on Enochian, authored by White Diamond Research, demonstrating
14   that Gumrukcu had very little scientific experience and no published scientific papers. White
15   Diamond Research reported that Gumrukcu was not listed as a student at the medical school he
16   claimed to attend and that his claimed medical studies underlying Enochian’s drug development
17   were not published in a peer-reviewed journal. “He considers himself a mystic, performs magic
18   tricks, and was accused of identity theft, grand theft, false impersonation and plead guilty to

19   commercial burglary in Los Angeles in 2018.” According to the White Diamond Research Report,

20   Gumrukcu was arrested in 2017, held on $625,000 bail, charged with grand theft, false

21   impersonation, identity theft, commercial burglary, and more in Los Angeles from 2014 through

22   2016, pleaded no contest to commercial burglary in January 2018, and was sentenced to five years

23   of probation.

24          11.      On May 9, 2020, the Danish publication DR Viden raised more red flags regarding

25   Gumrukcu, reporting that several Danish doctors with knowledge of Gumrukcu’s clinic stated that

26   there was no scientific evidence supporting the conclusion that the treatments Gumrukcu was

27   offering actually worked and, furthermore, Gumrukcu was not permitted to treat patients in his

28
                                                     4
     Case 2:22-cv-06871-JWH-JDE Document 1 Filed 09/22/22 Page 5 of 54 Page ID #:5




1    clinic because he was not a licensed physician. Moreover, DR Viden reported that the family of at

2    least one person that Gumrukcu treated was suing him after Gumrukcu’s treatments of leeches,

3    mistletoe extract, and so-called nck treatment, which is a form of immunotherapy against cancer,

4    ended in the patient’s death. DR Viden reported that numerous Danish doctors said that patients

5    should not be treated by Gumrukcu at his clinic.

6            12.      The Individual Defendants, however, failed to act in the face of these red flags.

7    Had they timely acted in accordance with their fiduciary duties, the damage caused to Enochian

8    and its shareholders would have been prevented, or at least minimized. As a result of the
9    Defendants’ breaches of fiduciary duty, and other misconduct, Enochian has sustained substantial
10   damages and irreparable injury to its reputation. Through this action, Plaintiff seeks to recover for
11   the Company its damages and remediate the control weaknesses that plague Enochian.
12           13.     Plaintiff did not make a demand prior to bringing this action because it would be
13   futile and is thus excused. The Company’s directors are neither disinterested nor independent. In
14   the absence of this action, Enochian will neither recover its damages nor properly remediate the
15   weaknesses in its internal controls and corporate governance practices and procedures.
16   II.     JURISDICTION AND VENUE
17           14.     This Court has subject-matter jurisdiction pursuant to 28 U.S.C. § 1331 and § 27 of
18   the Securities Exchange Act of 1934 (the “Exchange Act”), 15 U.S.C. § 78aa, because Plaintiff’s

19   claims raise a federal question under Sections 14(a) and 20(a) of the Exchange Act, 15 U.S.C. §§

20   78t(a) and 78t-1(a).

21           15.     This Court has supplemental jurisdiction over Plaintiff’s state law claims pursuant

22   to 28 U.S.C. § 1367(a).

23           16.     This derivative action is not a collusive action to confer jurisdiction on a court of

24   the United States that it would not otherwise have.

25           17.     This Court has jurisdiction over each Defendant named herein because Enochian

26   maintains its headquarters and does substantial business in this District and, as such, each Defendant is an

27   individual or corporation who has sufficient minimum contacts with this District so as to render the

28
                                                         5
     Case 2:22-cv-06871-JWH-JDE Document 1 Filed 09/22/22 Page 6 of 54 Page ID #:6




1    exercise of jurisdiction by the District Court permissible under traditional notions of fair play and

2    substantial justice.

3            18.     Venue is proper in this District pursuant to § 27 of the Exchange Act, 15 U.S.C. §

4    78aa and 28 U.S.C. § 1931(b), where the Company maintains its headquarters and where it

5    conducts substantial business.

6    III.    PARTIES

7            A.      Plaintiff

8            19.     Plaintiff Samuel I. Koenig is a current Enochian stockholder, having purchased
9    Enochian shares on November 26 and December 10, 2021, and having continuously held those
10   shares since his purchases. As such, Plaintiff held Enochian stock at the times of transactions
11   complained of herein.
12           B.      Defendants
13                   1.      Nominal Defendant Enochian Biosciences Inc.
14           20.     Nominal Defendant Enochian is a corporation duly incorporated under the laws of
15   the State of Delaware and is headquartered at 4142 Lankershim Boulevard, North Hollywood,
16   California 91602. Enochian’s common stock trades on the Nasdaq Stock Market (“Nasdaq”) under
17   the ticker symbol “ENOB.” Enochian is a biopharmaceutical company dedicated to identifying,
18   developing, manufacturing, and commercializing gene-modified cell therapy.

19                   2.      Defendant Gumrukcu

20           21.     Defendant Gumrukcu is a co-founder, and a controlling shareholder of Enochian.

21   According to the 2022 Proxy Statement filed by Enochian with the SEC on January 27, 2022 (the

22   “2022 Proxy Statement”), Gumrukcu owned 9,551,075 shares of Enochian common stock, or

23   18.15% thereof.

24                   3.      Individual Defendants

25                           a.       Defendant Sindlev

26           22.     Defendant Sindlev is a co-founder of Enochian and the Board Chair since June 2018.

27   He is an investor and entrepreneur since 1997 through several holding companies, including RS

28
                                                      6
     Case 2:22-cv-06871-JWH-JDE Document 1 Filed 09/22/22 Page 7 of 54 Page ID #:7




1    Group ApS, RS Arving ApS, RS Family ApS, RS Newton ApS, and RS Bio ApS. In January 2014,

2    he established Dr. Smood ApS in Denmark, and Dr. Smood Group, Inc. in the United States, a

3    chain of USDA Certified Organic restaurants, and since 2014 he has served as Chair. According

4    to the 2021 Proxy Statement filed by Enochian with the SEC on February 3, 2021 (the “2021 Proxy

5    Statement”) and the 2022 Proxy Statement, he received the following compensation:

6
                    Fees Earned or Cash Payments         Option Awards            Totals
7
             2021   $45,000                              $29,462                  $74,462
8            2020   $45,000                              $31,345                  $76,345
9
            23.     As of January 24, 2022, Sindlev owned 9,702,808 shares of Enochian common
10
     stock, or 18.42% thereof.
11
                           b.     Defendant Dybul
12
            24.     Defendant Mark Dybul (“Dybul”) is Enochian’s Chief Executive Officer (“CEO”)
13
     and principal executive officer since July 20, 2021, Executive Vice Board Chair since January
14
     2019, and a director since February 2018. According to the 2021 and 2022 Proxy Statements, he
15
     received the following compensation:
16

17                    Fees Earned or Cash Payments      Stock/Option Awards       Totals

18           2021                $430,000                                        $430,000
             2020                $430,000                     $832,000          $1,262,500
19

20                         c.     Defendant Brosgart

21          25.     Defendant Carol Brosgart (“Brosgart”) is an Enochian director since December

22   2019. Brosgart is a member of the Nominating and Corporate Governance Committee. Previously,

23   she served as a board member of Tobira Therapeutics, Inc. (“Tobira”), from September 2009 until

24   November 2016. Brosgart is the Chair of the Scientific Advisory Committee for Hepion

25   Pharmaceuticals, Inc. (formerly ContraVir Pharmaceuticals, Inc. (“ContraVir”)), a biotechnology

26   company.

27

28
                                                   7
     Case 2:22-cv-06871-JWH-JDE Document 1 Filed 09/22/22 Page 8 of 54 Page ID #:8




1             26.     According to the 2021 and 2022 Proxy Statements, Brosgart received the following

2    compensation:

3
                        Fees Earned or Cash Payments       Stock/Option Awards       Totals
4

5              2021                $69,000                       $49,856           $118,856
               2020                $34,500                       $43,297           $77,797
6
              27.     As of January 24, 2022, Brosgart owned 41,049 shares of Enochian common stock.
7
                             d.     Defendant Alton
8
              28.     Defendant Gregg Alton (“Alton”) is an Enochian director since December 2019.
9
     Alton is the Chair of the Nominating and Corporate Governance Committee. According to the
10
     2021 and 2022 Proxy Statements, Alton received the following compensation:
11

12                      Fees Earned or Cash Payments       Stock/Option Awards       Totals
13             2021                $77,500                       $49,856           $127,356
14             2020                $38,750                       $43,297           $82,047

15
              29.     As of January 24, 2022, Alton owned 41,049 shares of Enochian common stock.

16
                             e.     Defendant Sapirstein

17
              30.     Defendant James Sapirstein (“Sapirstein”) is an Enochian director since March

18
     2018. Sapirstein is the Chair of the Compensation Committee and a member of the Audit

19
     Committee. According to the 2021 and 2022 Proxy Statements, Sapirstein received the following

20
     compensation:

21
                        Fees Earned or Cash Payments       Stock/Option Awards       Totals
22
               2021                $77,500                       $50,730           $128,230
23             2020                $80,500                       $43,467           $123,967
24
              31.     As of January 24, 2022, Sapirstein owned 75,502 shares of Enochian common
25
     stock.
26

27

28
                                                     8
     Case 2:22-cv-06871-JWH-JDE Document 1 Filed 09/22/22 Page 9 of 54 Page ID #:9




1                           f.     Defendant Sandler

2           32.      Defendant Carl Sandler (“Sandler”) is a co-founder of Enochian and served as a

3    director from February 2018 until March 2022. He is a former business partner of Gumrukcu, as

4    one of the two managers of Weird Science, LLC. According to the 2021 and 2022 Proxy

5    Statements, Sandler received the following compensation:

6
                       Fees Earned or Cash Payments     Stock/Option Awards       Totals
7

8            2021                 $45,000                       $30,433          $75,433
             2020                 $45,000                       $42,745          $87,745
9
            33.      As of January 24, 2022, Sandler owned 8,480,763 shares of Enochian common
10
     stock, or 16.10% thereof.
11
                            g.     Defendant Gronfeldt-Sorensen
12
            34.      Defendant Henrik Grønfeldt-Sørensen (“Grønfeldt-Sørensen”) is an Enochian
13
     director since October 2017, CEO of RS Group ApS, RS Arving ApS, RS Family ApS and RS
14
     Newton ApS since October of 2012, and a director of Dr. Smood Group, Inc. since January 2014.
15
     According to the 2021 and 2022 Proxy Statements, Grønfeldt-Sørensen received the following
16
     compensation:
17

18                     Fees Earned or Cash Payments     Stock/Option Awards       Totals
19           2021                 $45,000                       $29,114          $74,114
20           2020                 $45,000                       $40,021          $85,020

21          35.      As of January 24, 2022, Gronfeldt-Sorensen owned 77,269 shares of Enochian
22   common stock.
23                          h.     Defendant McNicol
24          36.      Defendant Jayne McNicol (“McNicol”) is an Enochian director and Chair of its
25   Audit Committee since May 2021. According to the 2022 Proxy Statement, McNicol received the
26   following compensation:
27

28
                                                   9
     Case 2:22-cv-06871-JWH-JDE Document 1 Filed 09/22/22 Page 10 of 54 Page ID #:10




1                       Fees Earned or Cash Payments         Stock/Option Awards         Totals
2
               2021                  $7,418                        $105,542             $112,960
3

4            37.      Defendants Sindlev, Dybul, Brosgart, Alton, Sapirstein, Grønfeldt-Sørensen,

5     McNicol, and Sandler are referred to herein as the “Individual Defendants.”

6     IV.    DUTIES OF THE INDIVIDUAL DEFENDANTS

7            38.      By reason of their positions as officers and/or directors of Enochian and because of

8     their ability to control the business and corporate affairs of the Company, the Individual

9     Defendants owe and owed Enochian and its shareholders fiduciary obligations of loyalty, good

10    faith, due care, and candor, and were and are required to use their utmost ability to control, manage,

11    and oversee Enochian in a fair, just, honest, and equitable manner. The Individual Defendants

12    were and are required to act in furtherance of the best interests of Enochian and its shareholders to

13    benefit all shareholders equally and not in furtherance of their own personal interests or benefit.

14           39.      To discharge their duties, the officers and directors of Enochian were required to

15    exercise reasonable and prudent supervision over the management, policies, practices, and controls

16    of the financial and corporate affairs and assets of the Company.

17           40.      As senior executive officers and directors of a publicly traded company whose

18    common stock was registered with the SEC and traded on Nasdaq, the Individual Defendants also

19    owed a duty to ensure the dissemination of accurate, complete and truthful information concerning

20    Enochian’s financial condition, performance, growth, operations, financial statements, business,

21    products, management, earnings, internal controls, and business prospects. In addition, the

22    Individual Defendants had a duty to cause the Company to disclose in its regulatory filings with

23    the SEC all material facts described so that the market price of the Company’s shares would be

24    based upon accurate information.

25           41.      At all times relevant, the Individual Defendants were the agents of each other and

26    Enochian and were always acting within the course and scope of such agency.

27

28
                                                       10
     Case 2:22-cv-06871-JWH-JDE Document 1 Filed 09/22/22 Page 11 of 54 Page ID #:11




1             42.     The Individual Defendants were and are also subject to particularized duties

2     pursuant to specific policies in effect at Enochian.

3             A.      Additional Duties Under The Code Of Ethics And Conduct

4             43.     The Company maintains a Corporate Code of Ethics and Conduct (the “Code of

5     Ethics”). The Code of Ethics sets forth legal and ethical standards of conduct for directors, officers,

6     employees, and consultants of Enochian and its subsidiaries.

7             44.     The Code of Ethics requires:

8             •       compliance with all applicable government laws, rules and regulations and to bring
                      lapses or violations to light;
9
              •       honest and ethical conduct, including the ethical handling of actual or apparent
10                    conflicts of interest between personal and professional relationships;
11            •       full, fair, accurate, timely and understandable disclosure in reports and documents
                      that Enochian files with, or submits to, the SEC or any other governmental agency
12                    and in other public communications;
13            •       the prompt internal reporting of violations of [the Code of Ethics]; and
14            •       accountability for adherence to [the Code of Ethics].
15
              45.     The Code of Ethics requires directors, officers and employees to promptly provide
16
      information related to public disclosures:
17
              Depending on their position with the Company, employees, officers or directors
18            may be called upon to provide information to assure that the Company’s public
              reports are complete, fair and understandable. The Company expects all of its
19            personnel to take this responsibility very seriously and to provide prompt and
              accurate answers to inquiries related to the Company’s public disclosure
20            requirements.
21            46.     The Code of Ethics details the Company’s policy against insider trading:
22            It is illegal for any person, either personally or on behalf of others, (i) to buy or sell
              securities while in possession of material nonpublic information…. All directors,
23            officers, employees … must comply with these “insider trading” restrictions.
24
              47.     The Code of Ethics requires that all violations be reported and represents that failure
25
      to do so is a “severe disciplinary matter,” that could result in termination:
26
              Employees officers and directors should promptly report to the Compliance Officer
27            any conduct that the individual believes to be a violation of law or business ethics
28
                                                         11
     Case 2:22-cv-06871-JWH-JDE Document 1 Filed 09/22/22 Page 12 of 54 Page ID #:12



             or of any provision of the Code [of Ethics]. Violations, including failures to report
1            potential violations by others, will be viewed as a severe disciplinary matter that
             may result in personnel action, including termination of employment:
2
             48.     Finally, the Code of Ethics requires:
3
             Compliance with the Law. All Employees and Directors are expected to comply
4            with all applicable laws, rules and regulations.

5            Compliance and Reporting. Employees and Directors are expected to comply with
             this Code and its underlying policies and procedures to protect the Company and
6            its Employees and Directors from criticism, litigation or embarrassment that might
             result from alleged, perceived or real conflicts of interest or unethical practices.
7            Violations of this Code are grounds for disciplinary action up to and including
             discharge and possible legal prosecution.
8
             B.      Additional Duties Of The Members Of The Audit Committee
9
             49.     The Company’s Audit Committee is specifically tasked with oversight
10
      responsibilities assessing, among other things, the quality and integrity of the Company’s financial
11
      statements, the Company’s compliance with legal and regulatory requirements, the
12
      implementation and effectiveness of the Corporation’s ethics and compliance
13
      program, and preparation of all reports required to be included in the Company’s proxy
14
      statements.
15
             50.     Pursuant to the Audit Committee Charter, other Audit Committee Member duties
16
      and responsibilities include:
17
             •       Consider and review with the independent auditors and management the
18                   integrity of the Company’s financial reporting processes, both internal and
                     external, including the adequacy and effectiveness of the Company’s internal
19                   controls;

20           •       Discuss with management and the independent auditors the Company’s
                     guidelines and policies with respect to risk assessment and risk management
21                   and the Company’s major financial risk exposures and the overall steps
                     management has taken to monitor and control such exposures;
22
             •       Review of the Company’s anti-fraud controls, and policies and procedures in
23                   place to ensure compliance with the Foreign Corrupt Practices Act; and

24           •       Report regularly to the full Board, including with respect to any issues that
                     arise with respect to the quality or integrity of the Corporation’s financial
25                   statements and the Corporation’s compliance with legal or regulatory
                     requirements.
26

27

28
                                                      12
     Case 2:22-cv-06871-JWH-JDE Document 1 Filed 09/22/22 Page 13 of 54 Page ID #:13




             C.      Additional Duties Of The Members Of The Nominating And
 1
                     Governance Committee
 2           51.     The members of the Nominating and Governance Committee have additional duties
 3    outlined in the Nominating and Corporate Governance Committee Charter, which include:
 4
             •       Developing and recommending to the Board the Corporate Governance
                     Guidelines for the Corporation and overseeing compliance with such
 5
                     Guidelines;
 6
             •       Reviewing and reassessing the adequacy of such Corporate Governance
                     Guidelines and recommending any proposed changes to the Board; and
 7
             •       Monitoring compliance with the Corporation’s Code of Ethics and Conduct,
 8
                     which includes reviewing with counsel the adequacy and effectiveness of the
                     Corporation’s procedures to ensure proper compliance with such Code of
 9
                     Conduct and Ethics.
10    V.     SUBSTANTIVE ALLEGATIONS
11           A.      Background
12           52.     Enochian is a pre-clinical stage biotechnology company engaged in the research
13    and development of pharmaceutical and biological products for the treatment of human
14    immunodeficiency virus (“HIV”), hepatitis B virus (“HBV”), influenza and coronavirus
15    infections, and cancer.
16           53.     Defendant Gumrukcu and Defendant Sindlev began a business partnership in 2016,
17    after Gumrukcu was introduced to Sindlev by a mutual friend. 2
18           54.     In April 2017, Gumrukcu founded Gumrukcu Health LLC and within weeks he was
19    hired as a consultant by DanDrit Biotech USA Inc. (“DanDrit”), a drug developer backed by
20    Sindlev.
21           55.     Gumrukcu then helped form two separate, but related, entities, Seraph Research
22    Institute (“SRI”) and Seraph Medical. SRI, served as a headquarters for Gumrukcu’s purported
23    medical research. The other entity, Seraph Medical, was a treatment center. Together, SRI and
24

25    2
           Caleb Hannan, Enochian Biosciences: Stunning Murder Allegations Raise Fresh Questions
26 about Company’s Top Medical Mind, ShareSleuth, https://sharesleuth.com/enochian-biosciences-
   stunning-murder-allegations-raise-fresh-questions-about-companys-main-medical-mind/ (last
27 visited on September 7, 2022).

28
                                                     13
     Case 2:22-cv-06871-JWH-JDE Document 1 Filed 09/22/22 Page 14 of 54 Page ID #:14




1     Seraph Medical, acted as an “incubator” for the creation of Enochian Biopharma Inc., the precursor

2     to the Company.

3            56.     By July 2017, DanDrit and Sindlev were in talks for a deal with another of

4     Gumrukcu’s companies, Weird Science LLC (“Weird Science”). Dandrit would purchase a

5     perpetual license in Weird Science’s intellectual property from Gumrukcu, acquire Enochian

6     Biopharma, Inc., and create a new entity, Enochian Biosciences Inc., that would seek to

7     commercialize Gumrukcu’s treatment technologies.

8            B.      The Formation Of Enochian
9            57.     On January 17, 2018, DanDrit announced the acquisition of Enochian Biopharma,
10    Inc.   According to Eric Leire (“Leire”), DanDrit’s President and CEO, “[t]his acquisition
11    demonstrates our deep commitment to continuing to invest in future innovation in the field of
12    cellular therapy and we believe Enochian’s technology will enhance our efforts to improve care
13    for people with HIV and advanced cancers.” In the press release, it was represented that the
14    purchase brought DanDrit a new proprietary technology platform including “combinatory gene
15    therapy methods in the field of HIV/AIDS[, . . . which] will enhance DanDrit’s research and
16    development efforts in cellular therapy and add to its pipeline, which also includes cellular
17    immune-oncology products for the prevention of relapse of metastatic colon cancer after resection
18    and chemotherapy.”

19           58.     In the press release, it was disclosed that the acquisition was subject to the condition

20    that Enochian execute a perpetual, sole and exclusive license with Gumrukcu’s entity, Weird

21    Science:

22           Enochian will have executed a perpetual, sole and exclusive license with Weird
             Science LLC to use all of Weird Science LLC’s intellectual property rights in its
23           proprietary technology for the prevention, treatment and amelioration of HIV in
             humans, including an assignment of the rights to experimental studies with syngeneic
24           and humanized mice models, and DanDrit will be satisfied with all due diligence
             related to such intellectual property, [and] DanDrit, Weird Science LLC and a certain
25           stockholder of DanDrit will have entered into an Investor Rights Agreement and a
             Standstill & Lock-Up Agreement . . . .
26

27

28
                                                       14
     Case 2:22-cv-06871-JWH-JDE Document 1 Filed 09/22/22 Page 15 of 54 Page ID #:15




1            59.     On February 19, 2018, DanDrit issued a press release announcing completion of

2     the Enochian acquisition and the change of DanDrit’s name to Enochian BioSciences Inc., stating:

3     “As a result of the Acquisition, DanDrit owns a perpetual, fully paid up, royalty free, sublicensable,

4     exclusive, license to new technology platforms for the treatment of HIV, including combinatory

5     gene therapy models[.]”

6            60.     On May 15, 2018, Enochian filed with the SEC a Quarterly Report on Form 10-Q

7     for the period ended March 31, 2018 (the “1Q18 10-Q”) disclosing that, among other things, “[o]n

8     February 16, 2018, the [Company] entered into a consulting agreement with Weird Science under
9     which Weird Science will provide ongoing medical services related to the development of the
10    Company’s products for the treatment of HIV and cancer.”
11           61.     On July 2, 2018, Leire wrote in a letter to shareholders that, before completing the
12    acquisition of Enochian Biopharma, Inc., “we engaged in due diligence to assess the value of its
13    proprietary technology related to the treatment of HIV.” According to Leire, the due diligence
14    included “our internal evaluation of the viability of the technology, an evaluation by intellectual
15    property counsel on the intellectual property rights associated with such technology, and an
16    independent valuation on the technology.”
17           C.      Enochian Discloses Material Weaknesses In Its Internal Controls
18           62.     On May 15, 2018, Enochian filed with the SEC the 1Q18 10-Q stating that then-

19    CEO Leire and then-Chief Financial Officer (“CFO”) Robert Wolfe (“Wolfe”) determined the

20    Company’s disclosure controls and procedures were not effective due to deficiencies related to

21    inadequate resources to address complex accounting issues. The 1Q18 10-Q disclosed that despite

22    hiring “consultants with expertise in U.S. GAAP and SEC financial reporting standards to review

23    and compile all financial information,” the Company still expected “to be deficient in our internal

24    controls over disclosure and procedures until sufficient capital is available to hire the appropriate

25    internal accounting staff and individuals with requisite GAAP and SEC financial reporting

26    knowledge.”

27

28
                                                       15
     Case 2:22-cv-06871-JWH-JDE Document 1 Filed 09/22/22 Page 16 of 54 Page ID #:16




 1           63.     On October 1, 2018, the Company filed with the SEC a notification of its inability

 2    to timely file its Annual Report on Form NT 10-K “because the [Company] was not able [to]

 3    finalize its audited financial statements as of and for the fiscal year ended June 30, 2018 without

 4    unreasonable effort and expense.”

 5           64.     On November 14, 2018, the Company filed with the SEC a Quarterly Report on

 6    Form 10-Q for the period ended September 30, 2018. In the 10-Q, the Company disclosed that

 7    CEO Leire and CFO Wolfe determined that the Company’s disclosure controls and procedures

 8    remained ineffective due to ongoing material weaknesses in controls over financial reporting.
 9           65.     On February 13, 2019, the Company filed with the SEC a Quarterly Report on Form
10    10-Q for the period ended December 31, 2018 and disclosed that the material weaknesses in its
11    internal controls persisted.
12           66.     On May 16, 2019, the Company filed with the SEC a notification of its inability to
13    timely file its Quarterly Report on Form NT 10-Q “because it was not able to finalize its unaudited

14    financial statements as of and for the fiscal quarter ended March 31, 2019 without unreasonable

15    effort and expense.”

16           67.     In all subsequent Quarterly Reports up until the present, the Company disclosed

17    ongoing material weaknesses in its controls over financial reporting.

18           D.      Enochian Makes False And Misleading Statements About Gumrukcu’s
                     Credentials, Expertise And Research
19
             68.     On October 1, 2018, Enochian filed with the SEC its Annual Report on Form 10-K
20
      for the fiscal year ended June 30, 2018 (the “2018 10-K”). 3 The 2018 10-K disclosed that on July
21
      9, 2018, the Company had entered into a consulting agreement with G-Tech Bio, LLC (“G-Tech”),
22

23
      3
          The 2018 10-K was signed by then-CEO Leire, then-CFO Wolfe, Defendants Sindlev,
24 Grønfeldt-Sørensen, Sandler, Dybul, Sapirstein, and former Board member Evelyn D’an. Leire
25 and Wolfe certified pursuant to the Sarbanes-Oxley Act of 2002 (“SOX”), that the 10-K fully
   complied with the requirements of Section 13(a) or 15(d) of the Securities Exchange Act of 1934
26 and that the information contained in the 3Q21 10-Q fairly presented, in all material respects, the
   financial condition and results of operations of the Company.
27

28
                                                      16
     Case 2:22-cv-06871-JWH-JDE Document 1 Filed 09/22/22 Page 17 of 54 Page ID #:17




1     a company controlled by Gumrukcu, to assist the Company with the “development of the gene

2     therapy and autologous and allogenic cell therapy modalities for the prevention, treatment,

3     amelioration of HIV in humans, and with the development of a genetically enhanced Allogenic

4     Dendritic Cell for use as a wide spectrum platform for various diseases (including but not limited

5     to cancers and infectious diseases).” The 2018 10-K further disclosed that “G-Tech is entitled to

6     consulting fees for 20 months, with a monthly consulting fee of not greater than $130,000 per

7     month,” and is controlled by “certain members of Weird Science.”

8            69.     On November 25, 2019, Enochian filed with the SEC a Current Report on Form 8-
9     K attaching a press release announcing an agreement “to acquire an exclusive, license for a
10    treatment under development aimed to treat the Hepatitis B Virus (HBV) infections from G-Tech
11    Bio, LLC.” The Company stated in the press release that one of the Company’s lead drugs, “HV-
12    01[,] was the original impetus for the conception of Enochian Biosciences’ HIV focus,” and that
13    it was based “on an insight by Dr. Gümrükcü, drawn from a non-HIV field, that by adding an
14    additional genetic modification to cells beyond those that protect cells from HIV infection could
15    give a competitive advantage to the survival of the cells in HIV patients, leading to enhanced
16    engraftment of the cells and increase the potential for a cure.” Enochian represented that the
17    approach could “significantly reduce the therapies needed, potentially allowing the procedure to
18    be done on an outpatient basis,” and noted the “innovative mechanism of action designed to be

19    developed into a potential cure for HBV.”

20           70.     Enochian described Gumrukcu in the press release as “the director of [SRI], a non-

21    profit organization where he runs a research lab at the cutting edge of cell, gene and

22    immunotherapy research,” and represented the following regarding Gumrukcu’s education and

23    training:

24           After receiving his preclinical training at the Dokuz Eylul University in 2004, []
             Gümrükcü continued his training in various institutions and started working as a
25           physician licensed by the Ministry of Health of Turkey in 2008. Later, after working
             under Dr. Suat Arusan in Turkey, Dr. Gümrükcü decided to explore further studies
26           in the field of cell and gene therapies.
27

28
                                                     17
     Case 2:22-cv-06871-JWH-JDE Document 1 Filed 09/22/22 Page 18 of 54 Page ID #:18




1            71.     Professor Shimon Slavin, who was purported to be Gumrukcu’s mentor, was

2     quoted in the press release as confirming the representations about Gumrukcu’s education and

3     training: “Gümrükcü was a young post-doc with interesting ideas when I first met him eight years

4     ago. I am looking forward to our future collaboration in developing and implementing novel cancer

5     treatments at [SRI].” Slavin also quoted as pointing to Gumrukcu’s “unique research training,”

6     remarking that “he has become a prolific inventor, submitting various patent/provisional patent

7     applications, which include several approaches aimed to treat deadly diseases, and for a novel

8     vaccine for HIV among many others. Dr. Gümrükcü has licensed intellectual property related to
9     HIV and several solid tumors to Enochian.”
10           72.     Defendant Dybul was quoted in the press release as stating: “Dr. Gümrükcü is one
11    of those rare geniuses that is not bound by scientific discipline or dogma. He sees connections and
12    opportunities often missed. His ideas are the purest kind: those that seem so obvious and simple
13    once he has conceived of and explained them.”
14           73.     On December 10, 2019, Enochian filed with the SEC a Current Report on Form 8-
15    K attaching a press release announcing a novel approach to potentially curing the Hepatitis B virus:
16    “…Gumrukcu, the inventor of products in the Enochian pipeline and Director of [SRI], presented
17    the data at the HEP DART scientific conference in Kauai, Hawaii. The data were generated
18    through a collaboration between SRI and Dr. Philippe Gallay of the Scripps Institute.”

19           74.     On March 24, 2021, Enochian filed with the SEC a Current Report on Form 8-K

20    attaching a press release announcing a breakthrough cancer treatment developed through a

21    partnership between SRI and Enochian, which resulted in complete remission in a 36-year old

22    patient with recurrent glioblastoma for a period of 15 months. Enochian claimed that, “[i]n

23    compliance with U.S. Food and Drug Administration guidance, SRI treated the patient with natural

24    killer (NK) and dendritic cells (DC) from a relative who had a partial genetic mismatch.”

25

26

27

28
                                                      18
     Case 2:22-cv-06871-JWH-JDE Document 1 Filed 09/22/22 Page 19 of 54 Page ID #:19




 1           75.       On September 24, 2021, Enochian filed with the SEC an Annual Report on Form 10-

 2    K for the fiscal year ended June 30, 2021 (the “2021 10-K”). 4 Enochian represented in the 2021 10-

 3    K that “[o]ur co-founder and inventor, [] Gumrukcu, who is also the Director of [SRI], submitted

 4    Pre-IND for ENOB-HV-21 an innovative treatment of Natural Killer (NK) and Gamma Delta T-

 5    Cells (GDT) collected from another person.”

 6           76.       According to the 2022 Proxy Statement, G-Tech and SRI are controlled by

 7    Gumrukcu and on April 18, 2021, the Company entered into a Statement of Work and License

 8    Agreement, by and among the Company, G-Tech and SRI, whereby the Company acquired a
 9    perpetual sublicensable, exclusive license to research, develop, and commercialize certain
10    formulations which are aimed at preventing and treating forms of pancoronavirus, paninfluenza,
11    and combinations of the two diseases. As of June 30, 2021, the Company paid a $10 million up-
12    front payment and $760,000 related to prior research costs to G-Tech and/or SRI. As of September
13    30, 2021, the Company paid an additional $75,000 to G-Tech and/or SRI.
14           E.        The Company Issues Shares
15           77.       On June 16, 2021, the Company filed with the SEC a Form 424B5 (the
16    “Prospectus”) announcing entry into a definitive securities purchase agreement with several
17    institutional investors for the issuance and sale of an aggregate of 3,866,667 shares, or about $29
18    million worth, of its common stock at a price of $7.50 per share. Enochian represented that it

19    intended to use the net proceeds from the offering for working capital and general corporate

20    purposes. The securities were being offered pursuant to Enochian’s shelf registration statement on

21    Form S-3 (File No. 333-239837) filed with the SEC on July 13, 2020, and declared effective on

22    July 20, 2020.

23

24    4
           The 2021 10-K was signed by CFO Luisa Puche (“Puche”) and all of the Individual
25 Defendants. Defendant Dybul and Puche certified pursuant to SOX, that the 10-K fully complied
   with the requirements of Section 13(a) or 15(d) of the Securities Exchange Act of 1934 and that
26 the information contained in the 2021 10-K fairly presented, in all material respects, the financial
   condition and results of operations of the Company.
27

28
                                                      19
     Case 2:22-cv-06871-JWH-JDE Document 1 Filed 09/22/22 Page 20 of 54 Page ID #:20




 1             78.        In the Prospectus, the Company represented that it was “committed to using our

 2    genetically modified cell, gene, and immune therapy technologies to prevent or potentially cure

 3    HIV, HBV as well as to potentially provide life-long cancer remission of some of the deadliest

 4    cancers. We do this by genetically modifying, or re-engineering, different types of human immune

 5    cells, depending on the therapeutic area and then injecting or returning the reengineered cells into

 6    a patient with HIV or some cancers to provide treatment or potentially cure.”

 7             79.        The Company asserted that it planned to use the proceeds from the offering “to

 8    complete an exclusive license agreement to accelerate the development of an innovative
 9    technology to potentially treat and prevent all variants of COVID-19 and influenza viruses; and to
10    advance two platform technologies with the potential to cure Hepatitis B Virus, HIV and many
11    solid tumors beginning with pancreatic cancer; and for working capital and general corporate
12    purposes.”
13             80.        In the Prospectus, Enochian again disclosed its reliance on Gumrukcu and entities
14    he controls: “[m]any of the techniques utilized in the development of our product candidates have
15    been developed by [] Gümrükcü, and we rely on the services of Dr. Gümrükcü, and of [G-Tech]
16    and [SRI], in the continued development of our pipeline. Our future performance will depend on
17    our ability to retain the services of Dr. Gümrükcü, [G-Tech] and [SRI]. The loss of the services of
18    any of the foregoing, or of any of our key employees or scientific advisory board members could

19    impede        the   achievement    of   our   research,   development,   regulatory   approvals   and

20    commercialization objectives.”

21             F.         The Individual Defendants Knew The Risks Regarding The Company’s
                          Material Dependence On Gumrukcu
22
               81.        On September 23, 2020, Enochian filed with the SEC an Annual Report on Form
23
      10-K for the period ended June 30, 2020 (the “2020 10-K”). 5
24

25    5
          The 2020 10-K was signed by CFO Puche, Defendants Dybul, Sindlev, Grønfeldt-
26 Sørensen, Sandler, Alton, Sapirstein, Brosgart, and former Board member Evelyn D’An.
   Defendant Dybul and Puche certified pursuant to SOX, that the 10-K fully complied with the
27 requirements of Section 13(a) or 15(d) of the Securities Exchange Act of 1934 and that the

28
                                                          20
     Case 2:22-cv-06871-JWH-JDE Document 1 Filed 09/22/22 Page 21 of 54 Page ID #:21




1             82.     In the 2020 10-K, the Company disclosed that is “highly dependent” on Gumrukcu

2     and entities he controls or is affiliated with:

3             We are highly dependent on the services of third parties to conduct research and
              development of our pipeline, and our failure to maintain the services of such third
4             parties could harm our business
5             We are highly dependent on third parties working in conjunction with our officers,
              employees, scientific advisory board and research institutions in the research and
6             development of product candidates in our pipeline. Many of the techniques utilized
              in the development of our product candidates have been developed by [] Gümrükcü,
7             and we rely on the services of Dr. Gümrükcü, and of G-Tech Bio, LLC [“G-Tech”]
              and [SRI], in the continued development of our pipeline. Our future performance will
8             depend on our ability to retain the services of Dr. Gümrükcü, [G-Tech] and SRI. The
              loss of the services of any of the foregoing, or of any of our key employees or
9             scientific advisory board members could impede the achievement of our research,
              development, regulatory approvals and commercialization objectives.
10

11            83.     The 2021 10-K reiterated the risks in connection with Company’s dependence on
12    Gumrukcu and entities he controls or is affiliated with.
13            84.     Further, according to the 2021 10-K, “[o]ur future performance will depend on our
14    ability to retain the services of [Gumrukcu], [G-Tech] and SRI. The loss of [their] services, or of
15    any of our key employees or scientific advisory board members could impede the achievement of
16    our research, development, regulatory approvals and commercialization objectives.”
17            85.     The 2021 10-K discussed the Company’s rights under license agreements with “our
18    licensors, including Weird Science and G-Tech, SRI and [] Gumrukcu that are important to our

19    business,” stating that “[o]ur research and development platform is built, in part, around patent

20    rights licensed from such licensors.”

21            86.     On October 28, 2021, Enochian filed with the SEC an amended Annual Report on

22    Form 10-K/A—signed by Defendant Dybul and Puche—amending the Company’s 2021 Annual

23    Report, which contained substantively the same statements as in the original Annual Report,

24    pertaining to the Company’s consulting and licensing agreements with G-Tech and SRI.

25

26    information contained in the 2020 10-K fairly presented, in all material respects, the financial
      condition and results of operations of the Company.
27

28
                                                        21
     Case 2:22-cv-06871-JWH-JDE Document 1 Filed 09/22/22 Page 22 of 54 Page ID #:22




1             G.     Gumrukcu’s Criminal Past And False Credentials Come To Light

2             87.    On May 25, 2022, Federal prosecutors announced the arrest and indictment of

3     Gumrukcu as one of two men charged in a murder-for-hire conspiracy resulting in the death of

4     Vermont resident Gregory Davis. 6 According to a press release 7 from the U.S. Attorney for the

5     District of Vermont:

6             The Office of the United States Attorney for the District of Vermont stated that
              Serhat Gumrukcu, 39, of Los Angeles, California . . . [was] arrested yesterday after
7             having been charged by a federal grand jury in Vermont with conspiring to use
              interstate commerce facilities in the commission of murder-for-hire which resulted
8             in the death of Gregory Davis, a resident of Danville, Vermont.
9
              88.    Following news of Gumrukcu’s arrest, on May 25, 2022, Enochian’s stock price
10
      plunged 37%, losing $2.17 per share to close at $3.70 per share.
11
              89.    On June 1, 2022, Hindenburg Research released a report 8 on Gumrukcu’s false
12
      credentials, unorthodox and dangerous methods, criminal past, and the Company’s ongoing cover-
13
      up of these facts.
14
              90.    According to the report, at the time that Gumrukcu was arrested by federal
15
      authorities on January 6, 2018, he was 19 days away from trial on felony fraud charges related to
16
      a 2016 deal with the murder victim, Gregory Davis. Federal prosecutors assert that the prospective
17
      merger deal through which Enochian became a public company was the motive for the murder
18
      scheme.
19
              91.    The Hindenburg Report noted that Enochian was now seeking to downplay
20
      Gumrukcu’s role with the Company, claiming that Gumrukcu “has had no formal role in the
21
      Company,” despite Enochian’s own repeated disclosures indicating that the Company and its
22
      pipeline are completely dependent on Gumrukcu and that every product Enochian is developing
23
      6
              The case is U.S. v. Serhat Gumrukcu, Case No. 5:22-cr-00058 (D. Vt.).
24    7
              https://www.justice.gov/usao-vt/pr/two-men-charged-murder-hire-conspiracy-resulting-
25    death
      8
              Hindenburg Research, Miracle Cures and Murder For Hire: How a Spoon-Bending
26    Turkish Magician Built a $600 Million Nasdaq-Listed Scam Based On A Lifetime Of Lies,
      https://hindenburgresearch.com/enochian/.
27

28
                                                      22
     Case 2:22-cv-06871-JWH-JDE Document 1 Filed 09/22/22 Page 23 of 54 Page ID #:23




1     appears to have been licensed to it by Gumrukcu-controlled or affiliated entities or are otherwise

2     based on his research.

3            92.     The Hindenburg Report revealed that Gumrukcu’s criminal activities began in his

4     native Turkey, where he currently faces criminal charges based on his August 2012 arrest for

5     falsely posing as a doctor and charging a desperate family $275,000 to treat a terminally ill cancer

6     patient, who subsequently died.

7            93.     The Hindenburg Report references a glowing letter of recommendation from

8     Defendant Dybul about Gumrukcu that was included in the Turkish criminal court record. In the
9     recommendation, Dybul invoked Gumrukcu’s close friendship and mentee relationship with Dr.
10    Anthony Fauci and his relationship with Bill Gates. Dybul called Gumrukcu a “rare genius” who
11    discovered platforms to cure HIV, Hepatitis B, all strains of influenza, Zika, dengue fever, and
12    COVID. Dybul also wrote that Gumrukcu was “deeply compassionate, empathetic, and
13    approachable,” providing his “strongest recommendation.”
14           94.     The report details that Gumrukcu then fled Turkey despite the outstanding arrest
15    warrant. Three years later, in August 2015, he sold similar “miracle” concoctions to the desperate
16    parents of a young Pennsylvania boy who had terminal cancer, which resulted in litigation.
17           95.     In February 2017, Gumrukcu was reported to have been arrested by authorities after
18    the State of California accused him of a slew of white-collar crimes, including fraud, identity theft,

19    and check kiting—a total of 14 felonies. The authors of the report learned from California

20    authorities that in January 2018, Gumrukcu paid over $1 million in restitution to victims to reduce

21    his felony plea charge to a misdemeanor.

22           96.     Defendant Sindlev’s DanDrit (Enochian’s acquiror in January 2018) hired

23    Gumrukcu as a consultant in April 2017, just two months after his arrest for the alleged crime

24    spree. DanDrit and the Board moved forward with acquiring an interest in Gumrukcu-related

25    entities and subsequently taking Enochian public despite knowing of the ongoing criminal charges,

26    giving Gumrukcu and affiliates 50% of the combined company.

27

28
                                                       23
     Case 2:22-cv-06871-JWH-JDE Document 1 Filed 09/22/22 Page 24 of 54 Page ID #:24




1            97.     As he awaited sentencing following pleading guilty to one felony, Gumrukcu

2     attended the Nasdaq bell ringing ceremony for Enochian and was announced as Enochian’s

3     “scientific founder.”

4            98.     Hindenburg reported that Enochian executives knew about Gumrukcu’s criminal

5     history. In a phone interview, Chairman Sindlev admitted to the authors of the report that he “knew

6     that [Gumrukcu] had been charged for 14 (felony) counts,” but moved forward with the deal and

7     expanded the relationship anyway. In the years since, Enochian has awarded lucrative cash

8     consulting and licensing contracts to entities controlled by Gumrukcu and his husband without
9     disclosing Gumrukcu’s criminal past to shareholders.
10           99.     The Hindenburg Report revealed that Enochian’s former CEO, Leire, raised a red
11    flag about Gumrukcu, asking “critical questions” about “serious financial improprieties” and large
12    payments to Gumrukcu, and questioning the Company’s close association with an individual
13    accused of numerous felonies. Leire was subsequently terminated.
14           100.    Per the report, Gumrukcu continues to profit from his illegal actions through the
15    sales of his unlicensed and unvetted “miracle” treatments to desperate parents of terminally ill
16    children, bilking them of hundreds of thousands of dollars. His private practice’s office is located
17    in the same building as Enochian’s headquarters.
18           101.    The report also revealed Gumrukcu’s reported qualifications are false, “[w]e have

19    been unable to find any jurisdiction in which Gumrukcu is licensed as a medical doctor. He is

20    unlicensed in California, where he has apparently been practicing medicine anyway, and where he

21    has claimed to have made his major breakthroughs for Enochian.”

22           102.    Gumrukcu’s education, credentials, and degrees are all fictions according to the

23    extensive research conducted by the report’s authors. Gumrukcu claims to have spent 12 or more

24    years earning an M.D. and multiple PhDs in Russia and Turkey, however, he has no medical degree

25    and no PhD. His name does not appear in the official Russian national degree database. Gumrukcu

26    was never enrolled in the Russian school he claims to have graduated from, as verified from

27    correspondence with the institution. Russian border control and police have no record of

28
                                                      24
     Case 2:22-cv-06871-JWH-JDE Document 1 Filed 09/22/22 Page 25 of 54 Page ID #:25




1     Gumrukcu ever having a Russian student visa or even a short-term tourist visa, let alone spending

2     years studying medicine. Instead, Gumrukcu is reported to have purchased a fake Russian medical

3     degree on the black market. 9

4            103.    Gumrukcu claims to have received a PhD from a Turkish university that has no

5     record of him. The Turkish medical school where he began undergraduate studies confirmed he

6     had attended, but later dropped out before graduating. Turkish criminal records show that

7     Gumrukcu admitted to police that his highest level of education was a high school degree, despite

8     the arrest taking place after the period where Gumrukcu claimed to have already been a doctor.
9            104.    The Hindenburg Report disclosed Gumrukcu’s actual past. As a local magician
10    with the stage name “Dr. No,” he studied and taught spoon-bending, firewalking, and performing
11    as a mentalist, claiming magical healing powers.
12           105.    The Hindenburg Report declares that based “on our investigation, we strongly
13    believe that Gumrukcu’s education credentials are entirely fabricated. Consequently, we believe
14    Enochian’s claimed scientific breakthroughs have been developed by a fake doctor with a long
15    criminal rap sheet who now stands accused of murder. ” Gumrukcu is a “a lifelong con artist, who
16    has catapulted himself from being a small-town Turkish magician to leading a publicly traded,
17    Nasdaq-listed medical research enterprise and fooling many along the way.”
18           106.    According to the report, despite the Company’s claims that top scientists back

19    Gumrukcu’s research, “many are already backing away.” An international cancer doctor that

20    Gumrukcu claimed was his mentor said a picture of him on the website for Gumrukcu’s research

21    entity, [SRI], is a fake: “I never wore [a] Seraph coat as shown in the picture, so how could I

22    validate his science?”

23           107.    A microbiologist who served on Enochian’s Scientific Advisory Board and was

24    previously quoted by Enochian as saying he was “blown away” by Gumrukcu’s “brilliant

25
      9
             As part of the research underlying the report, the authors purchased a similar black market
26    Russian medical degree from the same school, with the same claimed major, the same date, and
      the same “official” stamp as Gumrukcu’s with relative ease.
27

28
                                                     25
     Case 2:22-cv-06871-JWH-JDE Document 1 Filed 09/22/22 Page 26 of 54 Page ID #:26




 1    creativity” stated: “I agree retrospectively I should have done some due-diligence.” On the validity

 2    of the science, he wrote: “I have never validated anything, and they should not use my name.”

 3           108.    A former Enochian senior executive explained that he left the Company “because

 4    I lost scientific trust in what [Gumrukcu] was promoting….I had a few facts that corroborated that

 5    he lied to me and when scientists start to lie a little bit and massage the data, then I am afraid to

 6    have another Elizabeth Holmes story.”

 7           109.    Ultimately, the Individual Defendants caused or authorized the payment of an

 8    estimated $20 million in cash to Gumrukcu through a series of license agreements, consulting
 9    contracts, and other related-party transactions. Gumrukcu and his spouse own the largest single
10    stake in Enochian, about 32% of the company, worth about $90 million as of the date of the report.
11           110.    The Hindenburg Report closes with a dismal forecast for the Company: “With its
12    founder and main source of scientific discoveries jailed on murder-for-hire allegations, this cash-
13    burning company without peer-reviewed research and no genuine clinical prospects is now a ‘catch
14    me if you can’ story that we believe has finally reached the end-phase.”
15           111.    On June 28, 2022, The Wall Street Journal reported more details about Gumrukcu’s
16    fraudulent actions, criminal history, and the motivation behind Gumrukcu’s alleged conspiracy to
17    murder Gregory Davis. 10
18           112.    The article explained that Gumrukcu arranged the murder to prevent Davis from

19    exposing Gumrukcu as a fraud, a revelation which would have endangered the lucrative deal giving

20    him a significant ownership stake in Enochian.

21           113.    Shortly after Davis’s body was recovered, his wife, Melissa Davis, spoke with state

22    police detectives and the FBI. According to court papers, Davis told his wife before he was killed

23    that he had been involved in an oil deal involving Gumrukcu and his brother and that he no longer

24    trusted them. Davis believed they owed him more than $900,000 for late fees and penalties.

25

26    10
           Joseph Walker et al., Past Catches Up To Biotech Wizard Charged in Murder,
   https://www.wsj.com/articles/biotech-wizard-left-a-trail-of-fraudprosecutors-allege-it-ended-in-
27 murder-11656339183.

28
                                                       26
     Case 2:22-cv-06871-JWH-JDE Document 1 Filed 09/22/22 Page 27 of 54 Page ID #:27




1            114.    Davis had arranged to broker a deal to buy refined oil products and resell them at a

2     profit in a deal valued between $20 million and $30 million, said a person familiar with the matter.

3     The Gumrukcu brothers agreed to put up the cash in exchange for a percentage of the profit,

4     providing bank documentation that Davis later discovered to be fraudulent. Davis threatened to

5     expose the fraudulent bank documentation provided by Gumrukcu and his brother to the FBI,

6     according to a court filing by prosecutors.

7            115.    Federal prosecutors alleged that Gumrukcu sought to prevent Davis from exposing

8     his fraudulent conduct in their dealings, which would jeopardize the lucrative merger with
9     Enochian Biopharma that resulted in the formation of Enochian, which was undergoing due
10    diligence at the time.
11           116.    Days before his arrest in May, Gumrukcu sold around 250,000 shares in Enochian
12    for $2 million to Enochian’s Board Chair, Defendant Sindlev, for $8 per share on a day when the
13    Company’s stock price never exceeded $6.26 per share.
14           117.    The Wall Street Journal reported that Enochian “paid more than $21 million to
15    companies controlled by [] Gumrukcu and his husband for consulting, research and the licensing
16    of potential drugs to treat influenza, hepatitis B, HIV and Covid-19.”
17           118.    Defendant Sindlev attempted to back up Gumrukcu’s credentials to The Wall Street
18    Journal, stating that he believes that Gumrukcu holds a medical degree though he had not

19    “personally checked it,” and claiming that he was “in the process of doing so.”

20           119.    The Wall Street Journal article revealed that the FBI spent more than four years on

21    the Davis case, discovering other Gumrukcu criminal schemes, including a 2014 Southern

22    California real-estate deal where he convinced a Turkish banker to invest $500,000 in a joint-

23    venture to flip a nearby property. In the next few months, the investor wired Gumrukcu $430,000

24    for renovations. After being told that the property was sold, the investor never received his

25    expected share of the profits. He hired a private investigator and learned the escrow documents

26    had been forged. The house was not purchased by Gumrukcu and had not been on the market. The

27

28
                                                      27
     Case 2:22-cv-06871-JWH-JDE Document 1 Filed 09/22/22 Page 28 of 54 Page ID #:28




1     investor sued Mr. Gumrukcu and won damages in 2016. Gumrukcu’s West Hollywood house was

2     auctioned off to help pay the $1.8 million judgment, according to a county document.

3            120.    In connection with that case, as well as the passing of $600,000 in bad checks in

4     the oil deal with Davis, Gumrukcu was arrested on February 9, 2017, and charged with 14 felony

5     counts, including impersonating a lawyer and writing fraudulent checks.

6            121.    On January 25, 2018—nearly three weeks after Davis was killed—Gumrukcu pled

7     guilty in Los Angeles to a felony for passing bad checks and was sentenced to five years of

8     probation.
9            H.      Enochian Admits That Gumrukcu Falsified Data
10           122.    On July 1, 2022, Enochian filed with the SEC a Current Report on Form 8-K
11    attaching a press release disclosing that Gumrukçu falsified data related to the Company’s COVID-
12    19 treatment and HBV therapy study by altering two different sets of animal data generated by
13    third-party research institutions before Enochian’s scientists reviewed them. Enochian represented
14    that it intended to initiate legal action against Gumrukçu as a result of the falsification of the data.
15    In the press release, the Company revealed that it had conducted a “rigorous internal review of
16    scientific data,” which led to the discovery of the falsified data.
17           123.    The Company noted that it was “extremely concerned and disappointed to learn
18    that non-clinical data for those two pipelines were altered” and that it was “evaluating its internal

19    controls regarding the review and verification of external scientific data ….”

20           124.    Following the news about the falsified data, shares of Enochian fell 4.6% to $1.84

21    per share in after-hours trading on July 1, 2022.

22           I.      Gumrukcu Reaped $2 Million In Insider- Sales Proceeds

23           125.    As set forth herein, Gumrukcu possessed material, adverse information that he

24    knew had not been publicly disclosed. On May 18, 2022, a mere week before his arrest on

25    suspicion of conspiring in a murder plot, Gumrukcu consciously acted to exploit his knowledge

26    by selling over $2 million of Enochian stock (253,943 shares) at artificially inflated prices while

27    in possession of material, adverse non-public information.

28
                                                        28
     Case 2:22-cv-06871-JWH-JDE Document 1 Filed 09/22/22 Page 29 of 54 Page ID #:29




1            J.      Enochian Is Sued In Securities Class Action Lawsuits

2            126.    On July 26, 2022, a securities class action complaint was filed, captioned Chow v.

3     Enochian Biosciences Inc., et al., No. 22-cv-01374-DMG-AFM (C.D. Cal.), on behalf of all

4     purchasers of Enochian securities between September 24, 2020 and May 31, 2022. Chow charges

5     the Company, Defendants Dybul, Sindlev, Brosgart, Alton, Sapirstein, Sandler,           Grønfeldt-

6     Sørensen, McNicol, as well as Enochian’s CFO Luisa Puche, and former Board member Evelyn

7     D’an with violations of sections 10(b) and 20(a) of the Exchange Act and Rule 10b-5 promulgated

8     thereunder.
9            127.    Chow alleges that the defendants made false and misleading statements and failed
10    to disclose that: (i) Gumrukcu was not a licensed doctor and had no verifiable degrees beyond high
11    school; (ii) there were no scientific and technological underpinnings to Enochian’s product
12    pipeline, purportedly invented by Gumrukcu; (iii) the commercial prospects for the Company’s
13    product pipeline were overstated; (iv) Gumrukcu had a criminal history that included fraud; and
14    (v) reliance on Gumrukcu, and its consulting and licensing agreements with G-Tech and SRI,
15    subjected the Company to a heightened risk of reputational and financial harm, as well as
16    threatened the integrity of the Company’s scientific findings.
17           128.    On July 28, 2022, a securities class action complaint was filed, captioned Manici v.
18    Enochian Biosciences Inc., et al., No. 22-cv-05237 (C.D. Cal.), on behalf of all purchasers of

19    Enochian securities between January 17, 2018 and June 27, 2022, inclusive. Manici charges the

20    Company, Defendant Dybul, Leire, Robert Wolfe, Enochian’s former CFO and Chief Accounting

21    Officer, and CFO Puche with violations of sections 10(b) and 20(a) of the Exchange Act and Rule

22    10b-5 promulgated thereunder.

23           129.    Manici alleges that the defendants made false and misleading statements and failed

24    to disclose that: (1) co-founder and inventor Gumrukcu was engaged in a variety of frauds; (2)

25    Gumrukcu was not a licensed doctor; (4) Gumrukcu’s purported contributions to the Company

26    lacked a reasonable basis; (5) the Company had overstated its commercial prospects; and (6)

27

28
                                                      29
     Case 2:22-cv-06871-JWH-JDE Document 1 Filed 09/22/22 Page 30 of 54 Page ID #:30




 1    Gumrukcu had improperly diverted approximately $20 million from Enochian to entities he

 2    owned.

 3             K.     The Individual Defendants Ignored Red Flags Regarding Gumrukcu’s
                      Credentials, Expertise, And Research
 4
               130.   The Board was presented with ample warning that Gumrukcu was a criminal with
 5
      fraudulent credentials and that his scientific methods were suspect, but the Individual Defendants
 6
      failed to act in response.
 7
               131.   In January 2018, Gumrukcu pleaded no contest to a felony stemming from
 8
      allegations that he forged documents and email addresses, and stole identities, to take more than
 9
      $1 million from a Turkish banker so that he and his spouse, an interior designer and large
10
      shareholder in Enochian, could buy and upgrade a bungalow in Los Angeles. 11 The charges led to
11
      a “raid that ended with Gumrukcu in handcuffs.” 12 In a phone interview connected with the
12
      Hindenburg Report, Defendant Sindlev admitted to the authors of the report, that he “knew that
13
      [Gumrukcu] had been charged for 14 (felony) counts,” but moved forward with the deal and
14
      expanded the relationship anyway.
15
               132.   Red flags about Gumrukcu were raised by the Company’s CEO Leire, who warned
16
      early on that Gumrukcu was a fraud. According to Leire, little could be verified about how much
17
      work Gumrukcu did in the research and development of the drugs licensed by Enochian; and Leire
18
      began to suspect that Gumrukcu had fabricated his resumé and held neither a medical degree nor
19
      a doctoral degree. Leire, a medical doctor and pharmaceutical-industry executive, said he was fired
20
      from his CEO job in 2019 after raising his concerns with the Enochian Board. Another former
21
      Enochian senior executive explained that he left the Company “because I lost scientific trust in
22
      what [Gumrukcu] was promoting…I had a few facts that corroborated that he lied to me and when
23

24

25    11
          Caleb Hannan, Enochian Biosciences: Stunning Murder Allegations Raise Fresh Questions
26 about Company’s Top Medical Mind.
   12
          Id.
27

28
                                                      30
     Case 2:22-cv-06871-JWH-JDE Document 1 Filed 09/22/22 Page 31 of 54 Page ID #:31




1     scientists start to lie a little bit and massage the data, then I am afraid to have another Elizabeth

2     Holmes story.”

3            133.    On November 19, 2019, Seeking Alpha published a research report 13 on Enochian,

4     authored by White Diamond Research, concluding that the Company should be valued at no more

5     than $0.25 per share or $10 million because, among other reasons, of questions about Gumrukcu,

6     noting that Enochian’s “lead scientist and inventor, has very little scientific experience and no

7     published scientific papers as far as we know. He considers himself a mystic, performs magic

8     tricks, and was accused of identity theft, grand theft, false impersonation, and plead guilty to
9     commercial burglary in Los Angeles in 2018.” According to the report, Gumrukcu was arrested in
10    2017, held on $625,000 bail, charged with grand theft, false impersonation, identity theft,
11    commercial burglary, and other crimes in Los Angeles from 2014 through 2016, and pleaded no
12    contest to commercial burglary in January 2018 and was sentenced to five years of probation.
13           134.    White Diamond Research reported that Gumrukcu was also a defendant in a civil
14    complaint filed in the L.A. Superior Court in Santa Monica relating to a property dispute in which
15    the Court issued a writ of execution against Gumrukcu for almost $1.8 million.
16           135.    Even more troubling, White Diamond Research reported that Gumrukcu’s claimed
17    medical degree was false because he was not listed as a student at the medical school he claimed
18    to attend and Gurmrukcu’s studies underlying Enochian’s drug development were not published

19    in a peer-reviewed journal. Gumrukcu’s claim that he was a Nobel Prize nominee was patently

20    incredible because his hypothesis for an HIV cure was only tested on mice.

21           136.    On December 5, 2019, in a follow-up research report, 14 Seeking Alpha noted that

22    Gumrukcu was practicing medicine in California without a license, and allegedly committed

23    “many white collar crimes between 2014 and 2016, and pleaded no contest to commercial burglary

24

25    13
             https://seekingalpha.com/article/4307809-enochian-biosciences-is-house-of-cards-
      pipeline-is-entirely-pre-clinical-and-management.
26
      14
              https://seekingalpha.com/article/4310714-enochian-biosciences-story-just-gotten-even-
27    bizarre.
28
                                                       31
     Case 2:22-cv-06871-JWH-JDE Document 1 Filed 09/22/22 Page 32 of 54 Page ID #:32




1     in 2018.” The report stated that “We found no evidence that he has earned an MD or PHD as has

2     sometimes been claimed. We also haven't found any evidence of him doing any biotech research

3     or publishing anything related to biotech.” The follow-up report stated that an Enochian director,

4     Dr. William A Haselstine, who the Company had just hired on November 14, 2019, resigned on

5     November 22, 2019, shortly after the original Seeking Alpha report was released.

6             137.      The report concluded: “We, as well as other investors we know, have tried to

7     contact Enochian with questions and they have not responded. The company’s lack of transparency

8     is a red flag.”
9             138.      On May 9, 2020, the Danish publication DR Viden reported that several Danish
10    doctors with knowledge of Gumrukcu’s clinic, Seraph Medical, stated that there was no scientific
11    evidence that the treatments Gumrukcu was offering worked and that Gumrukcu was not permitted
12    to treat patients in his clinic because he was not a licensed physician. Moreover, DR Viden reported
13    that the family of at least one person that Gumrukcu treated was suing him after treatments of
14    leeches, mistletoe extract, and so-called nck treatment, which is a form of immunotherapy against
15    cancer, resulted in the patient’s death. DR Viden reported that numerous Danish doctors warned
16    patients against treatment by Gumrukcu or at Seraph Medical.
17            139.      The Individual Defendants ignored the red flags. If the Individual Defendants had
18    taken timely action, the damage caused to Enochian could have been prevented or, at least,

19    minimized.

20            L.        Enochian’s False And Misleading Proxy Statements

21            140.      On May 22, 2020, the Company filed its 2020 Proxy Statement with the SEC (the

22    “2020 Proxy Statement”) soliciting shareholder votes to, among other things, re-elect Defendants

23    Sindlev, Dybul, Brosgart, Alton, Sapirstein, Sandler, and Grønfeldt-Sørensen to the Board.

24            141.      The 2020 Proxy Statement represented that the Board was exercising its risk

25    oversight function directly and through the Audit Committee. It also provided that the Board

26    “regularly discusses with management the Company’s major risk exposures including

27    compensation risk, their potential financial impact on the Company, and the steps taken to

28
                                                       32
     Case 2:22-cv-06871-JWH-JDE Document 1 Filed 09/22/22 Page 33 of 54 Page ID #:33




1     monitor and control those risks.” The 2020 Proxy Statement enumerated various related party

2     transactions with Gumrukcu and entities controlled by him, but made no disclosure regarding

3     Gumrukcu’s criminal past, lack of credentials, and the lack of scientific merit in the technologies

4     he purported to develop for the Company.

5            142.    On June 24, 2020, Enochian filed a Form 8-K disclosing that Defendants Sindlev,

6     Dybul, Grønfeldt-Sørensen, Sapirstein, Sandler, Alton and Brosgart were reelected as directors

7     pursuant to the Board’s solicitation of votes therefor.

8            143.    On February 3, 2021, the Company filed its 2021 Proxy Statement with the SEC,
9     soliciting shareholder votes to, among other things, re-elect Defendants Sindlev, Dybul, Brosgart,
10    Alton, Sapirstein, Sandler, and Grønfeldt-Sørensen to the Board.
11           144.    The 2021 Proxy Statement represented that the Board was exercising its risk
12    oversight function directly and through the Audit Committee. It also provided that the Board
13    “regularly discusses with management the Company’s major risk exposures including
14    compensation risk, their potential financial impact on the Company, and the steps taken to
15    monitor and control those risks.” The 2021 Proxy Statement enumerated various related-party
16    transactions with Gumrukcu and entities controlled by him, but made no disclosure regarding
17    Gumrukcu’s criminal past, lack of credentials, and the lack of scientific merit in the technologies
18    he purported to develop for the Company.

19           145.    On March 5, 2021, Enochian filed a Form 8-K disclosing that Defendants Sindlev,

20    Dybul, Brosgart, Alton, Sapirstein, Sandler, and Grønfeldt-Sørensen were reelected as directors

21    pursuant to the Board’s solicitations of votes therefor.

22           146.    On January 27, 2022, the Company filed its 2022 Proxy Statement with the SEC,

23    soliciting shareholder votes to, among other things, re-elect Defendants Sindlev, Dybul, Brosgart,

24    Alton, Sapirstein, Sandler, Grønfeldt-Sørensen, and McNicol to the Board.

25           147.    The 2022 Proxy Statement represented that the Board was exercising its risk

26    oversight function directly and through the Audit Committee. It also provided that the Board

27    “regularly discusses with management the Company’s major risk exposures including

28
                                                       33
     Case 2:22-cv-06871-JWH-JDE Document 1 Filed 09/22/22 Page 34 of 54 Page ID #:34




1     compensation risk, their potential financial impact on the Company, and the steps taken to monitor

2     and control those risks.” The 2022 Proxy Statement enumerated various related-party transactions

3     with Gumrukcu and entities controlled by him, but made no disclosure regarding Gumrukcu’s

4     criminal past, lack of credentials, and the lack of scientific merit in the technologies he purported

5     to develop for the Company.

6            148.    Each of the foregoing Proxy Statements was materially false and misleading and

7     omitted material information. In actuality, the Board and Audit Committee lacked necessary and

8     adequate internal controls and failed to oversee the Company’s major risk exposures and their
9     potential impact upon the Company, notwithstanding the knowledge of at least some members of
10    the Board that Gumrukcu had a criminal past and that his purported credentials were subject to
11    serious doubt. The Individual Defendants failed to disclose the truth about Gumrukcu, his criminal
12    past, lack of a medical degree, lack of a PhD, and lack of scientific training despite causing or
13    authorizing the payment of over $20 million in Company funds to him and entities controlled by
14    him.
15           149.    On March 16, 2022, Enochian filed a Form 8-K disclosing that Defendants Sindlev,
16    Dybul, Brosgart, Alton, Sapirstein, Sandler, Grønfeldt-Sørensen, and McNicol were reelected as
17    directors pursuant to the Board’s solicitations of votes therefor.
18    VI.    DEMAND FUTILITY ALLEGATIONS

19           150.    Plaintiff brings this action derivatively on behalf of Enochian to redress injuries

20    suffered, and to be suffered, as a result of the Individual Defendants’ and Gurmrukcu’s breaches

21    of their fiduciary duties as directors, officers, and controlling shareholders of Enochian, abuse

22    of control, gross mismanagement, and violations of sections 14 (a) and 20 (a) of the Exchange

23    Act, as well as the aiding and abetting thereof.

24           151.    Enochian is named solely as a nominal party in this action. This is not a collusive

25    action to confer jurisdiction on this Court that it would not otherwise have.

26           152.    Plaintiff is, and has been at all relevant times, a stockholder of Enochian and was a

27    stockholder of the Company at the time of the transactions alleged herein. Plaintiff will adequately

28
                                                         34
     Case 2:22-cv-06871-JWH-JDE Document 1 Filed 09/22/22 Page 35 of 54 Page ID #:35




1     and fairly represent the interests of Enochian and its shareholders in enforcing and prosecuting its

2     rights, and, to that end, has retained competent counsel, experienced in derivative litigation, to

3     enforce and prosecute this action.

4            153.    Under the circumstances presented herein, demand is futile and, thus, excused.

5            A.      Demand Upon Defendant Sindlev Is Excused

6            154.    As admitted by Enochian in its public filings, Sindlev is the co-founder and Chair

7     of the Enochian Board of Directors since June 2018, and is therefore not independent. Indeed,

8     Enochian’s 2022 Proxy Statement does not list Sindlev as an independent director.
9            155.    Sindlev will not sue those responsible for the wrongdoing pled herein because
10    doing so would harm him and his investments. As of January 24, 2022, Sindlev owned 9,702,808
11    shares—or 18.42% —of Enochian common stock. If Sindlev admitted that he, Enochian, or others
12    engaged in misconduct, his investment in Enochian would be substantially devalued.
13           156.    Further, if Sindlev acknowledged that directors, officers, or employees at Enochian
14    engaged in the wrongdoing alleged, he would be acknowledging that he, as co-founder, Board
15    Chair, and a controlling shareholder with long-term involvement in the Company, either knew of
16    the wrongdoing or should have known of the wrongdoing.
17           157.    Sindlev has conflicts that demonstrate his lack of disinterest and independence.
18    Indeed, Sindlev has a long-standing business relationship with Gumrukcu through investments in

19    a number of Gumrukcu’s companies since 2017 and utilizing Gumrukcu’s services as a consultant.

20           158.    Sindlev approved the 2020-2022 Proxy Statements containing false and misleading

21    statements and material omissions and faces a substantial likelihood of liability therefor. Further,

22    Sindlev benefitted from the violation of section 14(a) of the Exchange Act pled herein by securing

23    his re-election to the Enochian Board through the false and misleading statements and material

24    omissions contained in the 2020-2022 Proxy Statements.

25           159.    Sindlev is a named defendant in one of the pending securities class action lawsuits.

26    As such, he is incapable of considering a demand to commence and vigorously prosecute this

27    action with the required independence and disinterest.

28
                                                      35
     Case 2:22-cv-06871-JWH-JDE Document 1 Filed 09/22/22 Page 36 of 54 Page ID #:36




1            160.    Sindlev’s admission that he knew Gumrukcu had been charged for 14 felony

2     counts, but moved forward with the Enochian deal and expanded the financial relationship between

3     Enochian and Gumrukcu anyway demonstrates that he is neither disinterested nor independent and

4     faces a substantial likelihood of liability for his breaches of fiduciary duty and violations of federal

5     securities laws.

6            161.    Defendants Sindlev and Grønfeldt-Sørensen have specific and long-standing

7     business and personal relationships with each other which preclude them from acting in an

8     independent and disinterested manner. Sindlev and Grønfeldt-Sørensen have worked closely
9     together for more than ten years. Since 1997, Sindlev is the founder and prime operator of the RS
10    Group Companies, family offices in Denmark with global investments in the real estate, charter,
11    food & beverage, private hospital and biosciences industries bearing Sindlev’s initials in their title.
12    In October 2012, Grønfeldt-Sørensen was named CEO of RS Group ApS, RS Arving ApS, RS
13    Family ApS, and RS Newton ApS.
14           162.    Sindlev is the founder and prime operator of Dr. Smood Group, Inc., since January
15    2014. Grønfeldt-Sørensen is a director of Dr. Smood Group, Inc., since January of 2014, when the
16    company was founded by Sindlev.
17           163.    Finally, according to a FinansWatch article, 15 Sindlev and Grønfeldt-Sørensen have
18    been friends for years. They both know each other from the Cannes area, where Grønfeldt-

19    Sørensen lived in 2012, well before he joined Enochian, and are golfing buddies. In fact, Sindlev

20    drew on Grønfeldt-Sørensen’s services in connection with two housing transactions when the latter

21    was still employed at Nykredit, before joining an RS company.

22           164.    Sindlev, as a director of Enochian, was required to, but failed to: (1) ensure that the

23    Company operated within the confines of all relevant laws, rules, and regulations governing the

24    Company’s core operations; (2) implement and maintain an effective system of internal controls

25
      15
               Kasper Kronenberg, Pandora billionaire hires Nykredit’s ‘Frenchman,’ August 16, 2012,
26    https://finanswatch-dk.translate.goog/Navne_og_job/Profiler/article4810111.ece?_x_tr_sl=
      da&_x_tr_tl=en& _x_tr_hl=en&_x_tr_pto=sc.
27

28
                                                        36
     Case 2:22-cv-06871-JWH-JDE Document 1 Filed 09/22/22 Page 37 of 54 Page ID #:37




1     to monitor the material risks posed to the Company and to ensure the Company was complying

2     with all laws, rules, and regulations governing Enochian’s core operations; (3) implement and

3     maintain an effective system of internal controls and corporate governance practices and

4     procedures to ensure that the Company’s SEC filings and statements to investors were truthful,

5     complete, and accurate; and (4) take action when presented with red flags pointing to misconduct.

6              165.   Sindlev is neither disinterested nor independent. Any demand upon Defendant

7     Sindlev is futile and, thus, excused.

8              B.     Demand Upon Defendant Dybul Is Excused
9              166.   As admitted by Enochian in its public filings, Dybul is the Company’s CEO and
10    principal executive officer since July 1, 2021. Prior to that, he was Executive Vice Chair of the
11    Board of Directors since January of 2019, and a director since February of 2018. He is therefore
12    not independent. Indeed, Enochian’s 2022 Proxy Statement does not list Dybul as an independent
13    director.
14             167.   As an employee, Dybul derives substantially all of his income from his employment
15    with Enochian, including a total compensation of $430,000 in base salary in 2021 alone. Thus, he
16    could not consider a demand for action that might require him to sue directors that control his
17    continued employment or fellow members of management with whom he works on a day-to-day
18    basis.

19             168.   Dybul, as of January 24, 2022, owned 828,906 shares—or 1.55%—of Enochian

20    common stock. He will not sue those responsible for the wrongdoing pled herein because doing so

21    would harm him and his investments. If Dybul admitted that he, Enochian, or others engaged in

22    misconduct, his investment in Enochian would be substantially devalued. Further, if Dybul

23    acknowledged that executives at Enochian had engaged in the wrongdoing alleged, he would be

24    acknowledging that he, CEO of the Company, either knew of the wrongdoing or should have

25    known of the wrongdoing.

26             169.   Dybul approved the 2020-2022 Proxy Statements containing false and misleading

27    statements and material omissions and faces a substantial likelihood of liability therefor. Further,

28
                                                      37
     Case 2:22-cv-06871-JWH-JDE Document 1 Filed 09/22/22 Page 38 of 54 Page ID #:38




1     Dybul benefitted from the violation of section 14(a) of the Exchange Act pled herein by securing

2     his re-election to the Enochian Board through the false and misleading statements and material

3     omissions contained in the 2020-2022 Proxy Statements.

4            170.      Dybul is a named defendant in the pending securities class action lawsuits. As such,

5     he is incapable of considering a demand to commence and vigorously prosecute this action with

6     the required independence and disinterest.

7            171.      Dybul, as a director and officer of Enochian, was required to, but failed to: (1)

8     ensure that the Company operated within the confines of all relevant laws, rules, and regulations
9     governing the Company’s core operations; (2) implement and maintain an effective system of
10    internal controls to monitor the material risks posed to the Company and to ensure the Company
11    was complying with all laws, rules, and regulations governing Enochian’s core operations; (3)
12    implement and maintain an effective system of internal controls and corporate governance
13    practices and procedures to ensure that the Company’s SEC filings and statements to investors
14    were truthful, complete, and accurate; and (4) take action when presented with red flags pointing
15    to misconduct.
16           172.      Dybul is neither disinterested nor independent. Any demand upon Dybul is futile
17    and, thus, excused.
18           C.        Demand Upon Defendant Brosgart Is Excused

19           173.      Defendant Brosgart is an Enochian director since December 2019 and Chair of

20    Enochian’s Scientific Advisory Board on HBV Cure and Intrivo Diagnostic’s Scientific Advisory

21    Board on COVID-19 diagnostic tests. Thus, she could not consider a demand for an investigation

22    of her own failures to detect, or her decision to acquiesce in, Gumrukcu’s long-running fraud.

23           174.      Brosgart, as of January 24, 2022, owned 41,049 shares of Enochian common stock.

24    She will not sue those responsible for the wrongdoing pled herein because doing so would harm

25    her and her investments. If Brosgart admitted that she, Enochian, or others engaged in misconduct,

26    her investment in Enochian would be substantially devalued. Further, if Brosgart acknowledged

27    that executives at Enochian had engaged in the wrongdoing alleged, she would be acknowledging

28
                                                        38
     Case 2:22-cv-06871-JWH-JDE Document 1 Filed 09/22/22 Page 39 of 54 Page ID #:39




1     that she, as a major investor with long-term involvement in the Company, either knew of the

2     wrongdoing or should have known of the wrongdoing.

3             175.   Brosgart approved the 2020-2022 Proxy Statements containing false and

4     misleading statements and material omissions and faces a substantial likelihood of liability

5     therefor. Further, Brosgart benefitted from the violation of section 14(a) of the Exchange Act pled

6     herein by securing her re-election to the Enochian Board through the false and misleading

7     statements and material omissions contained in the 2020-2022 Proxy Statements.

8             176.   Brosgart is a named defendant in one of the pending securities class action lawsuits.
9     As such, she is incapable of considering a demand to commence and vigorously prosecute this
10    action with the required independence and disinterest.
11            177.   Defendants Brosgart, Alton, and Sapirstein have long-standing business and
12    personal relationships with each other which preclude them from acting in an independent and
13    disinterested manner. Brosgart and Sapirstein worked closely together for more than twenty years,
14    starting from when they worked together at Gilead Sciences, Inc., 16 on the development of
15    tenofovir, and continuing when they worked together at Tobira Therapeutics, Inc. 17 Then, toward

16    the beginning of Sapirstein’s tenure as CEO of ContraVir Pharmaceuticals, Inc., on January 20,

17    2015, he recruited Brosgart to work on ContraVir’s Scientific Advisory Board to support the

18    development of its targeted antiviral therapies. 18 In the press release announcing Brosgart’s hire,

19    Sapirstein remarked: “I am excited to work with Dr. Brosgart again after working together at

20    Gilead on the clinical development of tenofovir as well as on the Board of Tobira…. There is no

21    one I trust more than her to provide advice and guidance, particularly for our HBV program,

22    given her experience in this space.”

23

24    16
              Sapirstein was at Gilead from 2000 to 2002. Brosgart was at Gilead between 1998 and
      2009.
25
      17
              Sapirstein was founding CEO of Tobira from 2006 until 2016, when bought by Allergan
26    plc. Brosgart joined Tobira’s board in 2009, staying until the buyout by Allergan.
27    18
              Bloomberg News (February 4, 2015).
28
                                                      39
     Case 2:22-cv-06871-JWH-JDE Document 1 Filed 09/22/22 Page 40 of 54 Page ID #:40




1            178.      Similarly, Defendant Alton worked at Gilead from 1999 through 2019.

2            179.      Brosgart, as a director of Enochian, was required to, but failed to: (1) ensure that

3     the Company operated within the confines of all relevant laws, rules, and regulations governing

4     the Company’s core operations; (2) implement and maintain an effective system of internal

5     controls to monitor the material risks posed to the Company and to ensure the Company was

6     complying with all laws, rules, and regulations governing Enochian’s core operations; (3)

7     implement and maintain an effective system of internal controls and corporate governance

8     practices and procedures to ensure that the Company’s SEC filings and statements to investors
9     were truthful, complete, and accurate; and (4) take action when presented with red flags pointing
10    to misconduct.
11           180.      Brosgart failed to uphold her additional obligations as a member of the Nominating
12    and Corporate Governance Committee, which include, inter alia, ensuring the implementation and
13    effectiveness of Enochian’s Corporate Governance Guidelines.
14           181.      Brosgart is neither disinterested nor independent. Any demand upon Brosgart is
15    futile and, thus, excused.
16           D.        Demand Upon Defendant Alton Is Excused
17           182.      Defendant Alton is an Enochian director since December 2019 and, as of January
18    24, 2022, owned 41,049 shares of Enochian common stock. He will not sue those responsible for

19    the wrongdoing pled herein because doing so would harm him and his investments. If Alton

20    admitted that he, Enochian, or others engaged in misconduct, his investment in Enochian would

21    be substantially devalued. Further, if Alton acknowledged that executives at Enochian had engaged

22    in the wrongdoing alleged, he would be acknowledging that he, as a major investor with long-term

23    involvement in the Company, either knew of the wrongdoing or should have known of the

24    wrongdoing.

25           183.      Alton approved the 2020-2022 Proxy Statements containing false and misleading

26    statements and material omissions and faces a substantial likelihood of liability therefor. Further,

27    Alton benefitted from the violation of section 14(a) of the Exchange Act pled herein by securing

28
                                                        40
     Case 2:22-cv-06871-JWH-JDE Document 1 Filed 09/22/22 Page 41 of 54 Page ID #:41




1     his re-election to the Enochian Board through the false and misleading statements and material

2     omissions contained in the 2020-2022 Proxy Statements.

3            184.    Alton is a named defendant in one of the pending securities class action lawsuits.

4     As such, he is incapable of considering a demand to commence and vigorously prosecute this

5     action with the required independence and disinterest.

6            185.    Defendants Brosgart, Alton, and Sapirstein have long-standing business and

7     personal relationships with each other which preclude them from acting in an independent and

8     disinterested manner, as they all worked together at Gilead. Alton worked at Gilead from 1999
9     through 2019. Sapirstein was at Gilead from 2000 to 2002 and Brosgart was at Gilead between
10    1998 and 2009.
11           186.    Alton, as a director of Enochian, was required to, but failed to: (1) ensure that the
12    Company operated within the confines of all relevant laws, rules, and regulations governing the
13    Company’s core operations; (2) implement and maintain an effective system of internal controls
14    to monitor the material risks posed to the Company and to ensure the Company was complying
15    with all laws, rules, and regulations governing Enochian’s core operations; (3)implement and
16    maintain an effective system of internal controls and corporate governance practices and
17    procedures to ensure that the Company’s SEC filings and statements to investors were truthful,
18    complete, and accurate; and (4) take action when presented with red flags pointing to misconduct.

19           187.    As a member of the Audit Committee, Alton had duties regarding oversight of the

20    risks facing the Company and Enochian’s compliance with relevant laws, rules, and regulations.

21    Alton utterly failed to perform these essential duties.

22           188.    Alton failed to uphold his additional obligations as Chair of the Nominating and

23    Corporate Governance Committee, which include, inter alia, ensuring the implementation and

24    effectiveness of Enochian’s Corporate Governance Guidelines.

25           189.    Alton is neither disinterested nor independent. Any demand upon Alton is futile

26    and, thus, excused.

27

28
                                                       41
     Case 2:22-cv-06871-JWH-JDE Document 1 Filed 09/22/22 Page 42 of 54 Page ID #:42




1            E.      Demand Upon Defendant Sapirstein Is Excused

2            190.    Defendant Sapirstein is an Enochian director since March of 2018 and, as of

3     January 24, 2022, owned 75,502 shares of Enochian common stock. He will not sue those

4     responsible for the wrongdoing pled herein because doing so would harm him and his investments.

5     If Sapirstein admitted that he, Enochian, or others engaged in misconduct, his investment in

6     Enochian would be substantially devalued. Further, if Sapirstein acknowledged that executives at

7     Enochian had engaged in the wrongdoing alleged, he would be acknowledging that he, as a major

8     investor with long-term involvement in the Company, either knew of the wrongdoing or should
9     have known of the wrongdoing.
10           191.    Sapirstein approved the 2020-2022 Proxy Statements containing false and
11    misleading statements and material omissions and faces a substantial likelihood of liability
12    therefor. Further, Sapirstein benefitted from the violation of Section 14(a) of the Exchange Act
13    pled herein by securing his re-election to the Enochian Board through the false and misleading
14    statements and material omissions contained in the 2020-2022 Proxy Statements.
15           192.    Sapirstein cannot be independent and disinterested in the face of a shareholder
16    demand because he is a named defendant in one of the pending securities class action lawsuits.
17    As such, he is incapable of considering a demand to commence and vigorously prosecute this
18    action with the required independence and disinterest.

19           193.    Defendants Brosgart, Alton, and Sapirstein have long-standing business and

20    personal relationships with each other which preclude them from acting in an independent and

21    disinterested manner. Brosgart and Sapirstein worked closely together for more than twenty years,

22    starting from when they worked together at Gilead, on the development of tenofovir, and

23    continuing when they worked together at Tobira. Then, toward the beginning of Sapirstein’s tenure

24    as CEO of ContraVir, on January 20, 2015, he recruited Brosgart to work on ContraVir’s Scientific

25    Advisory Board to support the development of its targeted antiviral therapies. In the press release

26    announcing Brosgart’s hire, Sapirstein remarked: “I am excited to work with Dr. Brosgart again

27    after working together at Gilead on the clinical development of tenofovir as well as on the Board

28
                                                      42
     Case 2:22-cv-06871-JWH-JDE Document 1 Filed 09/22/22 Page 43 of 54 Page ID #:43




1     of Tobira…. There is no one I trust more than her to provide advice and guidance, particularly

2     for our HBV program, given her experience in this space.”

3            194.      Similarly, Alton worked at Gilead from 1999 through 2019.

4            195.      Sapirstein, as a director of Enochian, was required to, but failed to: (1) ensure that

5     the Company operated within the confines of all relevant laws, rules, and regulations governing

6     the Company’s core operations; (2) implement and maintain an effective system of internal

7     controls to monitor the material risks posed to the Company and to ensure the Company was

8     complying with all laws, rules, and regulations governing Enochian’s core operations; (3)
9     implement and maintain an effective system of internal controls and corporate governance
10    practices and procedures to ensure that the Company’s SEC filings and statements to investors
11    were truthful, complete, and accurate; and (4) take action when presented with red flags pointing
12    to misconduct.
13           196.      Moreover, as a member of the Audit Committee, Sapirstein had duties regarding
14    oversight of the risks facing the Company and Enochian’s compliance with relevant laws, rules,
15    and regulations. Sapirstein utterly failed to perform these essential duties.
16           197.      Sapirstein is neither disinterested nor independent. Any demand upon Sapirstein is
17    futile and, thus, excused.
18           F.        Demand Upon Defendant Grønfeldt-Sørensen Is Excused

19           198.      Defendant Grønfeldt-Sørensen is an Enochian director since October 2017 and,

20    since January 24, 2022, owned 77,269 shares of Enochian common stock. He will not sue those

21    responsible for the wrongdoing pled herein because doing so would harm him and his investments.

22    If Grønfeldt-Sørensen admitted that he, Enochian, or others engaged in misconduct, his investment

23    in Enochian would be substantially devalued. Further, if Grønfeldt-Sørensen acknowledged that

24    executives at Enochian had engaged in the wrongdoing alleged, he would be acknowledging that

25    he, as a major investor with long-term involvement in the Company, either knew of the

26    wrongdoing or should have known of the wrongdoing.

27

28
                                                        43
     Case 2:22-cv-06871-JWH-JDE Document 1 Filed 09/22/22 Page 44 of 54 Page ID #:44




1            199.    Grønfeldt-Sørensen approved the 2020-2022 Proxy Statements containing false and

2     misleading statements and material omissions and faces a substantial likelihood of liability

3     therefor. Further, Grønfeldt-Sørensen benefitted from the violation of section 14(a) of the

4     Exchange Act pled herein by securing his re-election to the Enochian Board through the false and

5     misleading statements and material omissions contained in the 2020-2022 Proxy Statements.

6            200.    Grønfeldt-Sørensen is a named defendant in one of the pending securities class

7     action lawsuits. As such, he is incapable of considering a demand to commence and vigorously

8     prosecute this action with the required independence and disinterest.
9            201.    Defendants Sindlev and Grønfeldt-Sørensen have specific and long-standing
10    business and personal relationships with each other which preclude them from acting in an
11    independent and disinterested manner. Sindlev and Grønfeldt-Sørensen have worked closely
12    together for more than ten years. Since 1997, Sindlev is the founder and prime operator of the RS
13    Group Companies, family offices in Denmark with global investments in the real estate, charter,
14    food & beverage, private hospital and biosciences industries bearing Sindlev’s initials in their title.
15    In October 2012, Grønfeldt-Sørensen was named CEO of RS Group ApS, RS Arving ApS, RS
16    Family ApS, and RS Newton ApS.
17           202.    Sindlev is the founder and prime operator of Dr. Smood Group, Inc. since January
18    2014. Grønfeldt-Sørensen is a director of Dr. Smood Group, Inc. since January of 2014, when the

19    company was founded by Sindlev.

20           203.    Finally, according to a FinansWatch article, Sindlev and Grønfeldt-Sørensen have

21    been friends for years. They know each other from the Cannes area, where Grønfeldt-Sørensen

22    lived in 2012, well before he joined Enochian, and are golfing buddies. In fact, Sindlev drew on

23    Grønfeldt-Sørensen’s services in connection with two housing transactions when the latter was

24    still employed at Nykredit, before joining an RS company.

25           204.    Grønfeldt-Sørensen, as a director of Enochian, was required to, but failed to: (1)

26    ensure that the Company operated within the confines of all relevant laws, rules, and regulations

27    governing the Company’s core operations; (2) implement and maintain an effective system of

28
                                                        44
     Case 2:22-cv-06871-JWH-JDE Document 1 Filed 09/22/22 Page 45 of 54 Page ID #:45




1     internal controls to monitor the material risks posed to the Company and to ensure the Company

2     was complying with all laws, rules, and regulations governing Enochian’s core operations; (3)

3     implement and maintain an effective system of internal controls and corporate governance

4     practices and procedures to ensure that the Company’s SEC filings and statements to investors

5     were truthful, complete, and accurate; and (4) take action when presented with red flags pointing

6     to misconduct.

7            205.      Grønfeldt-Sørensen is neither disinterested nor independent. Any demand upon

8     Grønfeldt-Sørensen is futile and, thus, excused.
9            G.        Demand Upon Defendant McNicol Is Excused
10           206.      Defendant McNicol is an Enochian director and Chair of its Audit Committee since
11    May 2021. If McNicol admitted that she, Enochian, or others engaged in misconduct, she would
12    be acknowledging that she, as a director of the Company, either knew of the wrongdoing or should
13    have known of the wrongdoing.
14           207.      McNicol approved the 2020-2022 Proxy Statements containing false and
15    misleading statements and material omissions and faces a substantial likelihood of liability
16    therefor.
17           208.      McNicol benefitted from the violation of section 14(a) of the Exchange Act pled
18    herein by securing her re-election to the Enochian Board through the false and misleading

19    statements and material omissions contained in the 2020-2022 Proxy Statements.

20           209.      McNicol is a named defendant in one of the pending securities class action lawsuits.

21    As such, she is incapable of considering a demand to commence and vigorously prosecute this

22    action with the required independence and disinterest.

23           210.      McNicol, as a director of Enochian, was required to, but failed to: (1) ensure that

24    the Company operated within the confines of all relevant laws, rules, and regulations governing

25    the Company’s core operations; (2) implement and maintain an effective system of internal

26    controls to monitor the material risks posed to the Company and to ensure the Company was

27    complying with all laws, rules, and regulations governing Enochian’s core operations; (3)

28
                                                         45
     Case 2:22-cv-06871-JWH-JDE Document 1 Filed 09/22/22 Page 46 of 54 Page ID #:46




1     implement and maintain an effective system of internal controls and corporate governance

2     practices and procedures to ensure that the Company’s SEC filings and statements to investors

3     were truthful, complete, and accurate; and (4) take action when presented with red flags pointing

4     to misconduct.

5            211.      As Chair of the Audit Committee, McNicol had duties regarding oversight of the

6     risks facing the Company and Enochian’s compliance with relevant laws, rules, and regulations.

7     McNicol utterly failed to perform these essential duties.

8            212.      McNicol is neither disinterested nor independent. Any demand upon McNicol is
9     futile and, thus, excused.
10           H.        Other Factors Demonstrating That Demand Upon The Individual
                       Defendants Is Futile
11
             213.      Enochian has been and will continue to be exposed to significant losses due to the
12
      wrongdoing complained of herein, yet the Board has not caused the Company to take action to
13
      recover for the Company the damages it has suffered and will continue to suffer thereby.
14
             214.      The Board was put on notice of legal and ethical violations at Enochian, and
15
      breaches of its Code of Conduct, as well as other misconduct, but failed to act against those
16
      responsible. Timely action could have prevented, or at least minimized, the damage caused to
17
      Enochian by such misconduct.
18
             215.      The members of the Board received, and continue to receive, substantial salaries,
19
      bonuses, payments, benefits, and other emoluments by virtue of their membership on the Board.
20
      They have thus benefited from the wrongs herein alleged and have engaged therein to preserve
21
      their positions of control and the perquisites thereof and are incapable of exercising independent
22
      objective judgment in deciding whether to bring this action.
23
             216.      Publicly traded companies such as Enochian typically carry director & officer
24
      liability insurance from which the Company could potentially recover some or all its losses.
25
      However, such insurance typically contains an “insured vs. insured” disclaimer that will foreclose
26

27

28
                                                       46
     Case 2:22-cv-06871-JWH-JDE Document 1 Filed 09/22/22 Page 47 of 54 Page ID #:47




1     a recovery from the insurers if the Individual Defendants sue each other to recover Enochian’s

2     damages.
                                               COUNT ONE
3                                 (Against the Individual Defendants for
                              Violations of Section 14(a) of the Exchange Act)
4
              217.    Plaintiff repeats and re-alleges each and every allegation contained above as if fully
5
      set forth herein.
6
              218.    The section 14(a) claim alleged herein is based solely on negligence. It is not based
7
      on any allegation of reckless or knowing conduct by or on behalf of the Individual Defendants.
8
      The section 14(a) claim alleged herein does not allege and does not sound in fraud. Plaintiff
9
      specifically disclaims any allegations of reliance upon any allegation of, or reference to any
10
      allegation of fraud, scienter, or recklessness with regard to these non-fraud claims.
11
              219.    Section 14(a) of the Exchange Act, 15 U.S.C. § 78n(a)(1), provides that “[i]t shall
12
      be unlawful for any person, by use of the mails or by any means or instrumentality of interstate
13
      commerce or of any facility of a national securities exchange or otherwise, in contravention of
14
      such rules and regulations as the [SEC] may prescribe as necessary or appropriate in the public
15
      interest or for the protection of investors, to solicit or to permit the use of his name to solicit any
16
      proxy or consent or authorization in respect of any security (other than an exempted security)
17
      registered pursuant to section 12 of this title [15 U.S.C. § 78l].”
18
              220.    Rule 14a-9, promulgated pursuant to § 14(a) of the Exchange Act, provides that no
19
      proxy statement shall contain “any statement which, at the time and in the light of the
20
      circumstances under which it is made, is false or misleading with respect to any material fact, or
21
      which omits to state any material fact necessary in order to make the statements therein not false
22
      or misleading.” 17 C.F.R. § 240.14a-9.
23
              221.    The 2020-2022 Proxy Statements were materially false and misleading and omitted
24
      material information. In actuality, the Board and Audit Committee lacked necessary and adequate
25
      internal controls and failed to oversee the Company’s major risk exposures and their potential
26
      impact upon the Company, notwithstanding the knowledge of at least some members of the Board
27

28
                                                        47
     Case 2:22-cv-06871-JWH-JDE Document 1 Filed 09/22/22 Page 48 of 54 Page ID #:48




1     that Gumrukcu had a criminal past and that his purported credentials were subject to serious doubt.

2     The Individual Defendants failed to disclose the truth about Gumrukcu, his criminal past, lack of

3     a medical degree, lack of a PhD, and lack of scientific training despite causing or authorizing the

4     payment of over $20 million in Company funds to him and entities controlled by him.

5             222.    The false and misleading information contained in the 2020-2022 Proxy Statements

6     was material to Enochian’s shareholders in determining whether to elect the relevant directors to

7     the Board.

8             223.    The material misstatements and omissions in the Proxy Statements damaged the
9     Company.
10            224.    Plaintiff, on behalf of Enochian, seeks relief for damages inflicted upon the
11    Company based on the false and misleading Proxy Statements in connection with the improper
12    election of the members of the Board in each respective year.
13                                             COUNT TWO
                                  (Against the Individual Defendants for
14                            Violations of Section 20(a) of the Exchange Act)
15            225.    Plaintiff repeats and re-alleges each and every allegation contained above as if fully
16    set forth herein.
17            226.    Section 20(a) of the Exchange Act, 15 U.S.C. § 78t(a), provides that “[e]very
18    person who, directly or indirectly, controls any person liable under any provision of this chapter

19    or of any rule or regulation thereunder shall also be liable jointly and severally with and to the

20    same extent as such controlled person to any person to whom such controlled person is liable.”

21            227.    The Individual Defendants, by virtue of their positions with Enochian, their

22    significant share ownership of Enochian stock, and their specific acts, were, at the time of the

23    wrongs alleged herein, controlling persons of Enochian and officers and directors who made the

24    false and misleading statements alleged herein within the meaning of § 20(a) of the Exchange Act.

25    The Individual Defendants had the power and influence, and exercised same, to cause Enochian to

26    engage in the illegal conduct and practices complained of herein.

27

28
                                                       48
     Case 2:22-cv-06871-JWH-JDE Document 1 Filed 09/22/22 Page 49 of 54 Page ID #:49




1             228.    The misleading information contained in the 2020-2022 Proxy Statements

2     constitute material misstatements and omissions which have damaged the Company. As controlling

3     persons, the Individual Defendants are liable for the primary violations and Plaintiff, on behalf of

4     Enochian, seeks relief for damages inflicted upon the Company based on the misleading 2020-

5     2022 Proxy Statements.

6                                             COUNT THREE
                     (Against the Individual Defendants for Breach of Fiduciary Duties)
7
              229.    Plaintiff repeats and re-alleges each and every allegation contained above as if fully
8
      set forth herein.
9
              230.    The Individual Defendants owed and owe fiduciary duties to Plaintiff and
10
      Enochian’s shareholders. By reason of their fiduciary relationships, the Individual Defendants
11
      specifically owed and owe to Plaintiff and Enochian’s shareholders the highest obligation of good
12
      faith, loyalty, and due care.
13
              231.    The Individual Defendants, by their actions and by engaging in the wrongdoing
14
      described herein, abandoned and abdicated their responsibilities and duties regarding prudently
15
      managing the business of Enochian in a manner consistent with the duties imposed upon them by
16
      law.
17
              232.    By committing the misconduct alleged herein, the Individual Defendants breached
18
      their duties of good faith and loyalty in the management and administration of Enochian’s affairs
19
      and in the use and preservation of Enochian’s assets.
20
              233.    As a direct and proximate result of the Individual Defendants’ failure to perform
21
      their fiduciary obligations, Enochian has sustained significant damages, not only monetarily, but
22
      also to its corporate image and goodwill. Such damages include, among other things, the costs of
23
      defending and resolving the securities class actions.
24
              234.    As a result of the misconduct alleged herein, the Individual Defendants are liable
25
      to Plaintiff and the Company’s shareholders.
26

27

28
                                                       49
     Case 2:22-cv-06871-JWH-JDE Document 1 Filed 09/22/22 Page 50 of 54 Page ID #:50



                                            COUNT FOUR
1                           (Against Gumrukcu for Breach of Fiduciary Duties)
2             235.    Plaintiff repeats and re-alleges each and every allegation contained above as if fully

3     set forth herein.

4             236.    As a controlling shareholder, Gumrukcu owed a fiduciary duty of fairness in his

5     financial dealings with the Company.

6             237.    Gumrukcu, by his actions and by engaging in the wrongdoing described herein,

7     abandoned, abdicated, and breached his fiduciary responsibilities and duties.

8             238.    As a direct and proximate result of Gumrukcu’s failure to perform his fiduciary
9     obligations, Enochian has sustained significant damages, not only monetarily, but also to its
10    corporate image and goodwill.
11            239.    As a result of the misconduct alleged herein, Gumrukcu is liable to Plaintiff and the
12    Company’s shareholders.
13                                            COUNT FIVE
                            (Against the Individual Defendants and Gumrukcu
14                                for Contribution and Indemnification)
15            240.    Plaintiff repeats and re-alleges each and every allegation contained above as if fully
16    set forth herein.
17            241.    The Company’s alleged liability on account of the wrongful acts and practices, as

18    well as related misconduct described above arises, in whole or in part, from the knowing, reckless,

19    disloyal, and/or bad faith acts or omissions of the Individual Defendants and Gumrucku.

20            242.    The Company has suffered significant and substantial injury as a direct result of the

21    Individual Defendants’ and Gumrucku’s actions. Plaintiff, on behalf of the Company, seeks relief

22    from the Individual Defendants and Gumrucku on a theory of contribution and indemnity to the

23    extent that the Company is found liable for the Individual Defendants’ and Gumrucku’s actions.

24                                             COUNT SIX
                            (Against the Individual Defendants and Gumrukcu
25                                       for Aiding and Abetting)
26            243.    Plaintiff repeats and re-alleges each and every allegation contained above as if fully

27    set forth herein.

28
                                                       50
     Case 2:22-cv-06871-JWH-JDE Document 1 Filed 09/22/22 Page 51 of 54 Page ID #:51




1               244.   Each of the Individual Defendants and Gumrucku has acted and is acting with

2     knowledge of or with reckless, or grossly negligent, disregard to the fact that the Individual

3     Defendants and Gumrucku are in breach of their duties to the Company and have participated in

4     such breaches of duties.

5               245.   In committing the wrongful acts, each of the Individual Defendants and Gumrucku

6     have pursued, or joined in the pursuit of, a common course of conduct. They have acted in concert

7     with and conspired with one another in furtherance of their common plan or design. In addition to

8     pursuing the wrongful conduct that gives rise to their primary liability, the Individual Defendants
9     and Gumrucku also aided and abetted, and/or assisted, each other in breaching their respective
10    duties.
11              246.   Because the actions described herein occurred under their supervision and
12    authority, each of the Individual Defendants and Gumrucku played a direct, necessary, and
13    substantial part in the conspiracy, common enterprise, and/or common course of conduct
14    complained of herein.
15              247.   Each of the Individual Defendants and Gumrucku aided and abetted each other and
16    rendered substantial assistance in the wrongs complained of herein.
17                                             COUNT SEVEN
                                      (Against the Individual Defendants
18                                       for Gross Mismanagement)
19              248.   Plaintiff repeats and re-alleges each and every allegation contained above as if fully

20    set forth herein.

21              249.   The Individual Defendants had a duty to the Company and its shareholders to

22    prudently supervise, manage, and control the operations, business, and internal controls of the

23    Company.

24              250.   The Individual Defendants, by their actions and by engaging in the wrongdoing

25    described herein, abandoned and abdicated their responsibilities and duties with regard to

26    prudently managing the business of the Company in a manner consistent with the duties imposed

27    upon them by law.

28
                                                        51
     Case 2:22-cv-06871-JWH-JDE Document 1 Filed 09/22/22 Page 52 of 54 Page ID #:52




1            251.     During the course of the discharge of their duties, the Individual Defendants knew

2     or disregarded the unreasonable risks and losses associated with their misconduct, yet they caused

3     the Company to engage in the scheme complained of herein which had an unreasonable risk of

4     damage to the Company, thus breaching their duties to the Company. As a result, the Individual

5     Defendants grossly mismanaged the Company.

6
      VII.   PRAYER FOR RELIEF
7
             WHEREFORE, Plaintiff prays for relief and judgment, as follows:
8
             A.       Declaring that Plaintiff may maintain this action on behalf of Enochian and its
9
      shareholders, and that Plaintiff is an adequate representative of the Company;
10
             B.       Declaring that the Individual Defendants violated sections 14(a) and 20(a) of the
11
      Exchange Act;
12

13
             C.       Declaring that the Individual Defendants and Gumrukcu have breached, and aided

14
      and abetted the breach of their fiduciary duties to Enochian and its shareholders;

15           D.       Declaring that the Individual Defendants have grossly mismanaged Enochian;
16
             E.       Determining and awarding to Enochian the damages sustained by it as a result of
17
      the violations set forth above from each of the Individual Defendants and Gumrukcu, jointly and
18
      severally, together with pre-judgment and post-judgment interest thereon;
19
             F.       Ordering disgorgement of profits, benefits, and other compensation, including any
20
      performance-based or valuation-based compensation, obtained by the Individual Defendants and
21
      Gumrukcu due to their wrongful conduct and breach of their fiduciary and contractual duties, as
22
      well as any proceeds reaped through improper insider trading;
23
             G.       Awarding Enochian restitution from the Individual Defendants and Gumrukcu, and
24
      each of them;
25

26           H.       Awarding Plaintiff the costs and disbursements of this action, including reasonable

27    attorneys’ and experts’ fees, costs, and expenses; and

28
                                                      52
     Case 2:22-cv-06871-JWH-JDE Document 1 Filed 09/22/22 Page 53 of 54 Page ID #:53




1            I.      Granting such other and further relief as the Court may deem just and proper.

2
      VIII. DEMAND FOR A JURY TRIAL
3
             Plaintiff hereby demands a trial by jury in this action of all issues so triable.
4
      Dated: September 23, 2022                           WEISS LAW
5                                                         Joel E. Elkins (SBN 256020)
                                                          By: /s/ Joel E. Elkins
6                                                         Joel E. Elkins
                                                          611 Wilshire Blvd., Suite 808
7                                                         Los Angeles, CA 90017
                                                          Telephone: (310) 208-2800
8     OF COUNSEL                                          Facsimile: (310) 209-2348
                                                          Email: jelkins@weisslawllp.com
9     WEISS LAW
      David C. Katz                                       Attorneys for Plaintiff
10    Mark D. Smilow
      Joshua M. Rubin
11    305 Broadway, 7th Floor
      New York, NY 10007
12    Telephone: (212) 682-3025
      Facsimile: (212) 682-3010
13    Email: dkatz@weisslawllp.com
             msmilow@weisslawllp.com
14           jrubin@weisslawllp.com

15    Plaintiff’s Counsel

16

17

18

19

20

21

22

23

24

25

26

27

28
                                                        53
Case 2:22-cv-06871-JWH-JDE Document 1 Filed 09/22/22 Page 54 of 54 Page ID #:54
